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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                              AMARILLO DIVISION

United States of America                           §
ex rel. ALEX DOE, Relator,                         §
                                                   §
                                                   §
The State of Texas                                 §
ex rel. ALEX DOE, Relator,                         §   CIVIL ACTION NO.
                                                   §   2:21-CV-00022-Z
The State of Louisiana                             §
ex rel. ALEX DOE, Relator,                         §   Date: January 27, 2022
                                                   §
                                                   §
       Plaintiffs,                                 §
v.                                                 §
                                                   §
Planned Parenthood Federation of America, Inc.,    §
Planned Parenthood Gulf Coast, Inc., Planned       §
Parenthood of Greater Texas, Inc., Planned         §
Parenthood South Texas, Inc., Planned Parenthood   §
Cameron County, Inc., Planned Parenthood San       §
                                                   §
Antonio, Inc.,                                     §
                                                   §
       Defendants.                                 §


      APPENDIX IN SUPPORT OF AFFILIATE DEFENDANTS’ OPPOSITION TO
             PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT




                                            ARNOLD & PORTER KAYE SCHOLER LLP

                                            Tirzah S. Lollar
                                            Tirzah.Lollar@arnoldporter.com
                                            601 Massachusetts Ave, NW
                                            Washington, DC 20001-3743
                                            Telephone: +1 202.942.5000
                                            Fax: +1 202.942.5999
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                                                                        APP. PAGE
                    DOCUMENT NAME
                                                                        NO.
    Declaration of Ronda Exnicious (1/26/2023)                        App.507-09

    Declaration of Polin Barraza (1/26/2023)                          App.510-12

    Declaration of Sheila McKinney (1/26/2023)                        App.513-15

    Excerpts of Rule 30(b)(6) Deposition of PPGC (12/1/2022)          App.516-24

    Excerpts of Rule 30(b)(6) Deposition of PPGT (12/6/2022)          App.525-34
    Excerpts of Rule 30(b)(6) Deposition of Texas Health and Human
                                                                      App.535-36
    Services Commission (Goldstein) (12/7/2022)
    Excerpts of Deposition of Melaney Linton (12/10/2022)             App.537-48

    Excerpts of Transcription of Video Files (4/9/2015)               App.549-54

    Texas’s Response in Opposition to PI (1/12/2017)                  App.555-97

    Texas’s Motion to Clarify PI Order and Judgment (3/13/2017)       App.598-607

    Kliebert, Motion to Stay Proceedings (3/28/2019)                  App.608-10
    Kliebert, Order Staying Proceedings Pending 5th Circuit Rulings
                                                                      App.611
    (5/17/2019)
    PPGC talking points for patients re TX Medicaid Exclusion with
                                                                      App.612-13
    transition advice (11/24/2020)
    Smith 5th Circuit Judgment (12/15/2020)                           App.614-15
    PPGC Medicaid Notification Letter to Louisiana (Coniglio)
                                                                      App.616-17
    (12/23/2020)
    PPGC Medicaid Notification Letter to Louisiana (LeBlanc)
                                                                      App.618-19
    (12/23/2020)
    PPGC Medicaid Patient Letter (2/1/2021)                           App.620
    Petition for Writ of Mandamus, Temporary Restraining Order,
                                                                      App.621-719
    Temporary Injunction, and Permanent Injunction (2/3/2021)
    Temporary Restraining Order—Signed (2/3/2021)                     App.720-24
    PPGT email to staff—Talking Points re Medicaid termination
                                                                      App.725-30
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    PPGC Medicaid Notification to Louisiana (Coniglio) (3/22/2021)    App.731

    PPGC Medicaid Notification to Louisiana (LeBlanc) (3/22/2021)     App.732

    Kliebert Order (4/7/2021)                                         App.733-734
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

United States of America                   §
ex rel. ALEX DOE, Relator,                 §
                                           §
                                           §
The State of Texas                         §
ex rel. ALEX DOE, Relator,                 §            CIVIL ACTION NO. 2:21-CV-00022-Z
                                           §
The State of Louisiana                     §
ex rel. ALEX DOE, Relator,                 §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         §
                                           §
                                           §
Planned Parenthood Federation of America, §
Inc., Planned Parenthood Gulf Coast, Inc., §
Planned Parenthood of Greater Texas, Inc., §
Planned Parenthood South Texas, Inc.,      §
Planned Parenthood Cameron County, Inc., §
Planned Parenthood San Antonio, Inc.,      §
                                           §
                                           §
        Defendants.

                         DECLARATION OF RONDA EXNICIOUS

I, Ronda Exnicious, declare and state as follows:

   1. I am currently employed by                                                           as Vice

       President of Revenue Cycle Management. I have performed the functions of my current

       position for PPGC, under various titles, since 2014. I am over the age of 18 and have

       personal knowledge of the matters herein or have acquired such knowledge by personally

       examining

       Medicaid claims. If called upon to testify, I could and would testify thereto.

   2. I make this declaration in suppor                                                 Motions for

       Summary Judgment.




                                                                                           App.507
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  3. From the time I joined PPGC in 2014 to March 2021 (except for a brief pause in late

     2020/early 2021), PPGC operated health centers in Southeast Texas and the Houston

     metropolitan area that provided services through the Texas Medicaid program.

  4. On January 4, 2021, Texas Health & Human Services C                               granted a

     one-month grace period through February 3, 2021 for PPGC and the other Affiliate

     Defendants to continue to see their existing Medicaid patients and assist them in

     transitioning to new providers. Dkt. 383, App. 505-506, Letter from Karen Ray, Chief

     Counsel, HHSC, to PPGT, PPST, & PPGC (Jan. 4, 2021).

  5. PPGC does not have reasonable access to its claims data from prior to May 3, 2021, because

     that data is kept in two separate databases, neither of which is currently in use. The

     previous two databases are legacy systems that are not accessible for claims data

     reporting/exportation without significant infrastructure investment. In addition, no current

     PPGC employee has the expertise to be able to run accurate reports of information from

     those databases.

  6. I have reviewed the Texas Medicaid claims records submitted by Texas and the Managed



     Lochabay                      , which indicate that during the January 4, 2021 to February

     3, 2021 grace period         Grace Period , PPGC had 125 Medicaid encounters with

     patients for which we received reimbursement from Texas Medicaid or the MCOs

     participating in Texas Medicaid.

  7. There is a Current Procedural Term                      code associated with each item or

     service provided under Medicaid. I am not aware of any Medicaid service or CPT code

     for transitioning a patient from one Medicaid provider to another.         records indicate
                                              2



                                                                                        App.508
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       that during the Grace Period, PPGC billed for and was reimbursed for Medicaid services

       such as STD testing, urinalysis, pregnancy tests, and birth control prescriptions, injections,

       and devices. A description of the services performed with corresponding CPT code was

                                                                                               or the

       MCOs participating in Texas Medicaid when PPGC submitted its claims for

       reimbursement.

   8. Tex       records indicate that during the Grace Period, PPGC received reimbursement from

       Texas Medicaid or the MCOs participating in Texas Medicaid for $14,143 for the services

       provided.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

correct.

Executed on January 26, 2023 in Beaver Creek, Colorado.



                                              ________________________
                                              Ronda Exnicious




                                                 3



                                                                                            App.509
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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

United States of America                   §
ex rel. ALEX DOE, Relator,                 §
                                           §
                                           §
The State of Texas                         §
ex rel. ALEX DOE, Relator,                 §           CIVIL ACTION NO. 2:21-CV-00022-Z
                                           §
The State of Louisiana                     §
ex rel. ALEX DOE, Relator,                 §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         §
                                           §
                                           §
Planned Parenthood Federation of America, §
Inc., Planned Parenthood Gulf Coast, Inc., §
Planned Parenthood of Greater Texas, Inc., §
Planned Parenthood South Texas, Inc.,      §
Planned Parenthood Cameron County, Inc., §
Planned Parenthood San Antonio, Inc.,      §
                                           §
                                           §
        Defendants.

                           DECLARATION OF POLIN BARRAZA

I, Polin Barraza, declare and state as follows:

   1. I am currently employed by Planned Parenthood South Texas, Inc. (“PPST”) as Senior

       Vice President and Chief Operating Officer. I have been the Chief Operating Officer since

       2013. From 2010 to 2012, I was Senior Vice President-Healthcare & Compliance. I also

       currently volunteer at PPST subsidiaries Planned Parenthood San Antonio, Inc. (“PPSA”)

       as President and Board Chair, a position I have held since 2019, and at Planned Parenthood

       Cameron County, Inc. (“PPCC”) as President, a position I have served in since 2020. I

       refer to PPST, PPSA, and PPCC collectively as “PPST” in this declaration. I am over the

       age of 18 and have personal knowledge of the matters herein or have acquired such




                                                                                        App.510
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     knowledge by personally examining business records kept in the ordinary course of PPST’s

     business. If called upon to testify, I could and would testify thereto.

  2. I make this declaration in support of Defendants’ Opposition to Plaintiffs’ Motions for

     Summary Judgment.

  3. From 2010 to March 10, 2021 (except for a brief pause in late 2020/early 2021), PPST

     operated health centers in the San Antonio area that provided services through the Texas

     Medicaid program.

  4. On January 4, 2021, Texas Health & Human Services Commission (“HHSC”) granted a

     one-month grace period through February 3, 2021 for PPST and the other Texas Affiliate

     Defendants to continue to see their existing Medicaid patients and assist them in

     transitioning to new providers. Dkt. 383, App. 505-506, Letter from Karen Ray, Chief

     Counsel, HHSC, to PPGT, PPST, & PPGC (Jan. 4, 2021).

  5. PPST’s records (“our records”) indicate that during the January 4, 2021 to February 3, 2021

     grace period (“the Grace Period”), PPST saw 68 Medicaid clients. All of these Medicaid

     clients were enrolled through Managed Care Organizations (“MCOs”).

  6. There is a Current Procedural Terminology (“CPT”) code associated with each item or

     service provided under Medicaid. I am not aware of any Medicaid service or CPT code

     for transitioning a patient from one Medicaid provider to another. Our records indicate

     that during the Grace Period, PPST provided the Medicaid services such as STD testing,

     urinalysis, pregnancy tests, breast and pelvic exams, and birth control prescriptions,

     injections, and devices. A description of the services performed with corresponding CPT

     code was provided HHSC’s Medicaid contractor, Texas Medicaid & Healthcare



                                               2



                                                                                       App.511
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       Partnership, or the MCOs participating in Texas Medicaid, when PPST submitted its claims

       for reimbursement.

   7. Our records indicate that during the Grace Period, PPST sought and received

       reimbursement from the MCOs participating in Texas Medicaid for $19,010.13 for the

       services provided.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

correct.

Executed on January 26, 2023 in San Antonio, Texas.




                                              ________________________
                                              Polin Barraza




                                                 3



                                                                                            App.512
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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

United States of America                   §
ex rel. ALEX DOE, Relator,                 §
                                           §
                                           §
The State of Texas                         §
ex rel. ALEX DOE, Relator,                 §            CIVIL ACTION NO. 2:21-CV-00022-Z
                                           §
The State of Louisiana                     §
ex rel. ALEX DOE, Relator,                 §
                                           §
        Plaintiffs,                        §
                                           §
v.                                         §
                                           §
                                           §
Planned Parenthood Federation of America, §
Inc., Planned Parenthood Gulf Coast, Inc., §
Planned Parenthood of Greater Texas, Inc., §
Planned Parenthood South Texas, Inc.,      §
Planned Parenthood Cameron County, Inc., §
Planned Parenthood San Antonio, Inc.,      §
                                           §
                                           §
        Defendants.

                        DECLARATION OF SHEILA MCKINNEY

I, Sheila McKinney, declare and state as follows:

   1. I am a current employee and former Chief Operating Officer of Planned Parenthood of

                                      . I served as Chief Operating Officer from 2013 to April

       2022. I am over the age of 18 and have personal knowledge of the matters herein or have

       acquired such knowledge by personally examining business records kept in the ordinary

       course of                  . If called upon to testify, I could and would testify thereto.

   2. I make this declaration in suppor                                                Motions for

       Summary Judgment.




                                                                                           App.513
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   3. From 2012 to 2018, PPGT provided family planning services and other preventive care to

        Medicaid beneficiaries at health centers in Central, East, and North Texas. Starting in

        2018, through March 10, 2021 (except for a brief pause in late 2020/early 2021), PPGT

        provided family planning services and other preventive care to Texas Medicaid

        beneficiaries at health centers in those regions, as well as West Texas.

   4. On January 4, 2021, Texas Health & Human Services C                               granted a

        one-month grace period through February 3, 2021 for PPGT and the other Affiliate

        Defendants to continue to see their existing Texas Medicaid patients and assist them in

        transitioning to new providers. Dkt. 383, App. 505-506, Letter from Karen Ray, Chief

        Counsel, HHSC, to PPGT, PPST, & PPGC (Jan. 4, 2021).

   5. PPGT

                                 Grace Period    PPGT saw 178 Texas Medicaid patients.

   6.                                                         code associated with each procedure

        or service provided under Medicaid. I am not aware of any Medicaid service or CPT code

        for transitioning a patient from one Medicaid provider to another. Our records indicate

        that during the Grace Period, PPGT provided Medicaid services such as STD testing,

        pregnancy tests, breast exams, and birth control prescriptions, injections, and devices. A

        description of the services performed with corresponding CPT code was provided to

                                                                                   or the Managed

                                                                          when PPGT submitted its

        claims for reimbursement.




                                                 2



                                                                                         App.514
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   7. Our records indicate that during the Grace Period, PPGT received reimbursement from

       Texas Medicaid or the MCOs participating in Texas Medicaid for $24,473.24 for the

       services provided.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and

correct.

Executed on January 26, 2023 in Katy, Texas.



                                              ________________________
                                              Sheila McKinney




                                                 3



                                                                                            App.515
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                                                                          Page 1
                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION
           UNITED STATES OF AMERICA,     §
           Ex rel. ALEX DOE, Relator,
                                         §
           THE STATE OF TEXAS,
           Ex rel. ALEX DOE, Relator,    §   Civil Action No.
                                             2:21-CV-00022-Z
           v.
                                         §
           PLANNED PARENTHOOD
           FEDERATION OF AMERICA, INC., §
           PLANNED PARENTHOOD GULF
           COAST, INC., PLANNED          §
           PARENTHOOD OF GREATER
           TEXAS, INC., PLANNED          §
           PARENTHOOD SOUTH
           TEXAS, INC., PLANNED          §
           PARENTHOOD CAMERON
           COUNTY, INC., PLANNED         §
           PARENTHOOD SAN ANTONIO,
           INC.,                         §
            Defendants.

                                  VIDEO DEPOSITION OF
                             PLANNED PARENTHOOD GULF COAST
                              THROUGH ITS REPRESENTATIVE
                                     ALFRED CURTIS


                                   Arnold & Porter LLP
                                  700 Louisiana Street
                                       Suite 4000
                                     Houston, Texas
           December 1, 2022                                           9:12 a.m.




                                                                      App.516
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                                                                         Page 14
      1        A.    I did.
      2        Q.    What did Ms. Linton desc- -- how did she
      3    describe PPGC's state of mind and which direction to go?
      4        A.    She reminded me of how we make all decisions,
      5    and that is with our mission and vision at the
      6    forefront, and our patients at the forefront, and she
      7    said that we had -- they -- at the time, they did what
      8    was in the best interest of our patients.
      9        Q.    And what decision are you referring to that was
     10    in the best interest of the patients?
     11        A.    The decision to continue to fight and litigate.
     12        Q.    And that includes the decision not to pursue the
     13    administrative appeal process that HHSC offered; is that
     14    right?
     15        A.    That is correct.
     16        Q.    You said that you discussed with Ms. Linton how
     17    PPGC came to make those decisions.            Without divulging
     18    communications with counsel, what did Ms. Linton
     19    describe to you in terms of how PPGC made their
     20    decisions to litigate?
     21        A.    She said we follow the same process that we
     22    still follow today, which is:           We consult as a senior
     23    leadership team, and then we talk it over with our
     24    board, and we make the decision to go whichever route as
     25    a team.




                                                                      App.517
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                                                                         Page 15
      1        Q.    And that was how PPGC decided to pursue
      2    litigation, and not the administrative process outlined
      3    by HHSC?
      4        A.    It's in consultation with senior leadership
      5    team, our board.       We also consulted with attorneys at
      6    litigation and law.
      7        Q.    Were there any other attorneys, other than
      8    litigation and law, that PPGC consulted with at the time
      9    of making those decisions?
     10                     MS. LOLLAR:            Objection; form, scope.
     11        A.    Yes, I believe.
     12    BY MS. HILTON:
     13        Q.    Do you know who those people were?
     14                     MS. LOLLAR:            Objection; scope.
     15        A.    I can't name them off the top of my head right
     16    now.
     17    BY MS. HILTON:
     18        Q.    Is that information that you would be able to
     19    find out if you had documents in front of you?
     20                     MS. LOLLAR:            Objection; form, scope.
     21        A.    Yes.
     22    BY MS. HILTON:
     23        Q.    You said you discussed, with Ms. Linton PPGC's
     24    operations at the time that they were deciding whether
     25    to litigate or pursue the administrative option; is that




                                                                       App.518
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                                                                         Page 21
      1        A.    How we were seeing patients, what we were doing
      2    in terms of messaging the patients, what were we doing
      3    at our health centers operationally.
      4        Q.    Okay.    When you say whether PPGC could see
      5    patients, are you talking about Medicaid patients?
      6        A.    Yes.
      7        Q.    And when you refer to "messaging to patients",
      8    are you referring to messaging to patients about
      9    whether or not PPGC could accept Medicaid patients?
     10        A.    Yes.
     11        Q.    How did PPGC determine that they could continue
     12    to see Medicaid patients?
     13                     MS. LOLLAR:            Objection to form.
     14        A.    What do you mean?
     15    BY MS. HILTON:
     16        Q.    Well, let me just ask you, what was PPGC's
     17    operational plan with respect to seeing patients during
     18    the course of the Texas Medicaid litigation?
     19                     MS. LOLLAR:            Objection to form.
     20        A.    We would continue to see Medicaid patients as
     21    long as we were legally able to do so, period.
     22    BY MS. HILTON:
     23        Q.    Did any part of that operational plan include a
     24    plan to transition patients to other providers?
     25        A.    Yes.




                                                                      App.519
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                                                                         Page 22
      1        Q.     What were the details of that plan?
      2        A.     If we were ultimately excluded from Medicaid,
      3    we would work with patients to find them other
      4    providers by providing them a list of providers in the
      5    area and, in some cases, potentially even doing warm
      6    handoffs.
      7        Q.     What's a warm handoff?
      8        A.     Where we would contact the provider -- contact
      9    another provider on their behalf, and sort of hand them
     10    off.
     11        Q.    Did PPGC ever provide a list of providers --
     12    other providers to patients as a result of being
     13    excluded from Medicaid?
     14        A.    Yes.
     15        Q.    When was that?       Let me clarify.       When -- when
     16    did PPGC begin to provide that list?
     17        A.    It was in December of 2020, after the 5th
     18    Circuit lifted the injunction.
     19        Q.    How was that list disseminated?
     20        A.    They were -- it was printed on car- -- little
     21    handout cards that we gave to patients at the health
     22    centers.
     23        Q.    Was that list ever disseminated to patients
     24    other than just in person at the health center?
     25        A.    Not that I can recall.




                                                                      App.520
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                                                                         Page 23
      1        Q.    Approximately how many warm handoffs did PPGC
      2    do?
      3                      MS. LOLLAR:           Objection; scope.
      4        A.    I wouldn't have that number.
      5    BY MS. HILTON:
      6        Q.    Is there someone who would?
      7                      MS. LOLLAR:           Sorry, same objection to
      8    scope.
      9        A.    I don't know that anyone would know it off the
     10    top of their head.
     11    BY MS. HILTON:
     12        Q.    Is it something -- is that a number that's
     13    maintained anywhere at PPGC?
     14                     MS. LOLLAR:            Objection; scope.
     15        A.    I don't think so.
     16    BY MS. HILTON:
     17        Q.    Other than the warm handoffs or the list
     18    provided to patients of other providers, was there
     19    anything else that PPGC did to transition patients to
     20    other providers?
     21        A.    What do you mean?
     22        Q.    Were there any other efforts that PPGC took to
     23    transition patients to other providers?
     24        A.    We...    So, outside of direct communications
     25    with patients, so as patients were making appointments,




                                                                      App.521
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                                                                         Page 24
      1    we would let them know at the time that they were
      2    making an appointment that if we couldn't see Medicaid
      3    patients, if you needed help finding another provider, I
      4    think there was probably a website or something you
      5    could point to.
      6             I don't know the website specifically, but --
      7    but it was more just direct communications with
      8    patients either at the time they made their appointment
      9    or if they showed up to the health center.
     10        Q.    So you're referring to over-the-phone or
     11    in-person communications?
     12        A.    Uh-huh.    Yes.
     13        Q.    Thanks.    When did PPGC begin telling patients
     14    that they could no longer see Medicaid patients?
     15                     MS. LOLLAR:            Objection to form.
     16        A.    After the 5th Circuit lifted the injunction.
     17    BY MS. HILTON:
     18        Q.    Did PPGC continue to bill for Medicaid services
     19    provided to patients after the 5th circuit lifted the
     20    injunction?
     21        A.    Not immediately after, no.
     22        Q.    But then, at some point, they resumed?
     23        A.    Yes.
     24        Q.    When was that?
     25        A.    When we received a grace period from the State.




                                                                      App.522
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                                                                       Page 248
      1        A.    I am.
      2        Q.    To tab 434, the title is, "PAC and health center
      3    talking points, Texas Medicaid exclusion, November 24th,
      4    2020."    Did I read that correctly?
      5        A.    Yes.
      6        Q.    Okay.    And then if you look in your notes for
      7    Topic 52, still on that same page in the middle of the
      8    page, do you see a reference to Tab 434?
      9        A.    I do.
     10        Q.    Okay.    And what does it say?
     11        A.    "Talking points for patients."           It shows cannot
     12    used Medicaid payment after December 14.
     13        Q.    Okay.    So Exhibit 40 -- 434, were talking
     14    points that Planned Parenthood Gulf Coast used with its
     15    patients around November 24th, 2020; is that right?
     16        A.    Correct.
     17        Q.    Okay.    And do you see the third paragraph from
     18    the bottom, there's a section, "How can I find another
     19    provider in the Medicaid program"?
     20        A.    Yes.
     21        Q.    Okay.    Were these talking parts -- pardon me.
     22    Were these talking points part of Planned Parenthood
     23    Gulf Coast's efforts in the November-December time
     24    frame to help its patients identify other Medicaid
     25    providers?




                                                                      App.523
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                                                                       Page 249
      1        A.     Yes.
      2        Q.     You can put the binder Exhibit 21 to the side.
      3    I'm handing you what was previously marked as Exhibit
      4    24.      Could you please turn to Tab 302?          Are you there,
      5    sir?
      6        A.     I am.
      7        Q.     And Tab 302 is an excerpt from the Louisiana
      8    Medicaid Provider Manual?
      9        A.     Yes.
     10        Q.     Is this a document that you reviewed in
     11    preparation for your deposition today?
     12        A.     Yes.
     13        Q.     If you look at the page ending in 690?             Are you
     14    there?
     15        A.     I am.
     16        Q.     Do you see a section entitled, "Provider
     17    requirements"?
     18        A.     Yes.
     19        Q.     Okay.   And just as an example, in the second
     20    paragraph, it says, "Therefore providers are
     21    responsible for knowing the terms of the provider
     22    agreement, program standards, statutes and the
     23    penalties for violations."
     24              "The provider signature on the provider
     25    enrollment packet PE-50 addendum, provider agreement




                                                                      App.524
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   Ken Lambrecht                                                   December 06, 2022
                                                                                   ·




    · · · · · · · · ·IN THE UNITED STATES DISTRICT COURT
    · · · · · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
    · · · · · · · · · · · · ·AMARILLO DIVISION

    UNITED STATES OF AMERICA,· · · )
    ex rel. Alex Doe, Relator,· · ·)
    · · · · · · · · · · · · · · · ·)
    THE STATE OF TEXAS,· · · · · · )
    ex rel. Alex Doe, Relator,· · ·)
    · · · · · · · · · · · · · · · ·)
    THE STATE OF LOUISIANA,· · · · )
    ex rel. Alex Doe, Relator,· · ·)
    · · · · · · · · · · · · · · · ·)
    · · · · · Plaintiffs· · · · · ·)CIVIL ACTION NO. 2:21-CV-00022-Z
    v.· · · · · · · · · · · · · · ·)
    · · · · · · · · · · · · · · · ·)
    PLANNED PARENTHOOD FEDERATION· )
    OF AMERICA, INC., PLANNED· · · )
    PARENTHOOD GULF COAST, INC.,· ·)
    PLANNED PARENTHOOD OF GREATER· )
    TEXAS, INC., PLANNED· · · · · ·)
    PARENTHOOD SOUTH TEXAS, INC.,· )
    PLANNED PARENTHOOD CAMERON· · ·)
    COUNTY, INC., PLANNED· · · · · )
    PARENTHOOD SAN ANTONIO, INC.,· )
    · · · · · · · · · · · · · · · ·)
    · · · · · Defendants.· · · · · )
    · · ·-----------------------------------------------------------

    · · · · · · · ·ORAL & VIDEO DEPOSITION OF KEN LAMBRECHT

    · · · · · · · · · · · · ·December 6, 2022
    · · ·---------------------------------------------------

    · · · · · Oral & video deposition of KEN LAMBRECHT, produced as

    · · ·a witness at the instance of the plaintiffs, and

    · · ·duly sworn, was taken on the 6th day of December, 2022,

    · · ·before Patrick Stephens, Certified Court Reporter, at

    · · ·303 Colorado Street, Suite 2750, Austin, TX 78701.




                                                                      App.525
                                                                                   YVer1f
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·1· · · ·A· · I believe it was in 2021, so it was on January 23rd,
·2· 2021.
·3· · · ·Q· · And what are you -- what are you referencing there,
·4· sir?
·5· · · ·A· · I am referencing a document -- (reviewing).· I'm --
·6· I'm referencing a series of documents about our interpretation
·7· at the time of what we were doing to try to take care of our
·8· patients and ensure compliance with the law, and -- and we were
·9· -- there is a correspondence internally about how to
10· communicate with our patients about whether or not we have the
11· requested reprieve of 30 -- of six months, which the state
12· ended up coming back with 30 days.· It was during that period
13· of time.
14· · · ·Q· · So your -- your testimony that you were able to bill
15· Medicaid into 2021, is that based on any official
16· communications with the state?
17· · · · · · · · ·MR. ODELL:· Objection, form and scope.
18· BY THE WITNESS (resuming):
19· · · ·A· · I'm not sure how to answer that question other than
20· the final termination from the state was a Health and Human
21· Services letter -- let me look.· (Reviewing.)· The Texas
22· response to our grace period was on January 4th, 2021, and
23· because they responded to the grace period that we were allowed
24· to provide care then, but we're still terminated.· We were
25· planning for the last days of the program and trying to follow



                                                                      App.526
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·1· the strictest interpretation of the law while helping our
·2· patients find where they can get care and trying -- trying to
·3· provide the care that we could, because most of them are living
·4· in crisis.
·5· · · · · · · · ·MR. MOORE:· I'll object to the nonresponsive
·6· portion of the answer.
·7· BY MR. MOORE (resuming):
·8· · · ·Q· · You can set that document aside.
·9· · · ·A· · (Complies with request.)
10· · · · · · · · ·MR. MOORE:· At this time, the State will pass
11· the witness.· Let's go off the record for just a few minutes.
12· · · · · · · · ·VIDEOGRAPHER:· Off the record at 1:23 [sic].
13· · · · · · · · ·(A recess is taken from 1:25 p.m. to 1:35 p.m.)
14· · · · · · · · ·VIDEOGRAPHER:· We're on the record at 1:33.
15· · · · · · · · · · · · · ·CROSS-EXAMINATION
16· BY MS. HACKER:
17· · · ·Q· · Good afternoon, Mr. Lambrecht.
18· · · ·A· · Good afternoon.
19· · · ·Q· · It's good to see you again.· My name is
20· Heather Hacker.· We've met before.· I'm just going to have a
21· few more questions for you, and I think that it will be an
22· earlier night tonight than the one we had last time, so...
23· · · ·A· · (Crosstalk.)
24· · · · · · · · ·MR. ODELL:· Don't get us all excited --
25· · · · · · · · ·MS. HACKER:· Yeah, I'll --



                                                                      App.527
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·1· little more specific.
·2· · · ·A· · Okay.
·3· · · ·Q· · So after you received the initial notice of
·4· termination in 2015, did PPGT decide to file a federal lawsuit?
·5· · · ·A· · Yes.
·6· · · ·Q· · Okay.· So when PPGT decided to challenge the Texas
·7· Medicaid termination in federal court, did you -- did PPGT know
·8· that there was a deadline to request an administrative hearing?
·9· · · ·A· · Because it was in the letter, we know there -- yes,
10· and we filed litigation instead.
11· · · ·Q· · Okay.· So let me give you what I'm going to mark as
12· exhibit -- PPGT Exhibit Number 29.
13· · · ·A· · Thank you.
14· · · ·Q· · Okay.· And so that document is Bates stamped PPGT-
15· 00010059; is that right?
16· · · ·A· · Yes.
17· · · ·Q· · Okay.· And you can take a second to look at that.
18· · · ·A· · (Reviewing.)
19· · · ·Q· · Okay.· What is this document?
20· · · ·A· · It is an E-mail exchange between Sheila McKinney with
21· the original E-mail coming to me on my cell phone on March
22· 12th, 2021, regarding the Medicaid administrative hearing.
23· · · ·Q· · Okay.· Now, on the back of that document,
24· Ms. McKinney is asking if you know why we did not ask -- why
25· we, meaning PPGT -- did not ask for an administrative hearing



                                                                      App.528
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·1· five years ago; is that right?
·2· · · ·A· · Yes.
·3· · · ·Q· · Okay.· And then you responded:· It was a
·4· legal-strategy decision at that time focusing on the federal
·5· courts first.· Is that right?
·6· · · ·A· · Yes.
·7· · · ·Q· · Okay.· So PPGT made a legal-strategy decision to file
·8· a federal lawsuit rather than go through the administrative
·9· process after it received the termination notice; is that
10· right?
11· · · · · · · · ·MR. ODELL:· Objection, scope.
12· BY THE WITNESS (resuming):
13· · · ·A· · We filed litigation believing it was a politically
14· motivated termination and not based in any form of fact.
15· · · ·Q· · Okay.· And it was a legal-strategy decision to do
16· that rather than an administrative process; is that right?
17· · · ·A· · It was --
18· · · · · · · · ·MR. ODELL:· Same objection.
19· BY THE WITNESS (resuming):
20· · · ·A· · It was a legal-strategy decision as well as doing
21· what we felt we had to do to center our patients in our
22· conversation, and our patients being anybody that wants access
23· to care.
24· · · ·Q· · Okay.· And you also said that you wonder if your
25· attorneys realize there was a deadline to request the



                                                                      App.529
                                                                                   YVer1f
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·1· administrative hearing; is that right?
·2· · · ·A· · I do -- yes, I wrote that.
·3· · · ·Q· · Okay.· And by, Our attorneys, who are you referring
·4· to?
·5· · · · · · · · ·MR. ODELL:· Objection, scope.
·6· BY THE WITNESS (resuming):
·7· · · ·A· · Our attorneys at the time could have been a
·8· combination of state attorneys and our litigation and law
·9· counsel.
10· · · ·Q· · I'm sorry.· What was the first one you said?
11· · · ·A· · Yeah.· We may have had local attorneys.· I don't
12· remember exactly --
13· · · ·Q· · Okay.
14· · · ·A· · -- but we have -- we have local attorneys often and
15· we also consult with litigation and law -- the litigation and
16· law division that serves the affiliates.
17· · · ·Q· · Okay.· Which attorneys filed the federal lawsuit?
18· · · · · · · · ·MR. ODELL:· Objection, scope.· You can answer.
19· BY THE WITNESS (resuming):
20· · · ·A· · I would have to look back at -- at that, but I --
21· · · ·Q· · Sure, please.
22· · · ·A· · (Reviewing.)· This is -- and forgive me.· May I
23· clarify?· Are you wanting to know as of the date of this letter
24· or back in '15?
25· · · ·Q· · So I'm asking which attorneys filed the federal



                                                                      App.530
                                                                                   YVer1f
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·1· lawsuit.
·2· · · ·A· · In '15?
·3· · · ·Q· · Yes.
·4· · · ·A· · Okay.· Thank you.· (Reviewing.)· I believe it was
·5· litigation and law.
·6· · · · · · · · ·MR. ODELL:· And I'll object to the scope.
·7· BY THE WITNESS (resuming):
·8· · · ·A· · Husch Blackwell and -- which was our local counsel --
·9· · · ·Q· · Uh-huh.
10· · · ·A· · -- Tom Watkins, who's a saint, and Jones -- and Jones
11· (ph) and litigation and law.
12· · · ·Q· · Okay.· So for the record, which binder number is that
13· that you're looking in?
14· · · ·A· · This is Binder Number 4.
15· · · ·Q· · Okay.· And which tab are you on?
16· · · ·A· · The tab I'm looking at is 412.
17· · · ·Q· · Okay.· And does that document have a Bates stamp on
18· it?
19· · · ·A· · I don't understand what a Bates stamp is.
20· · · ·Q· · The -- the --
21· · · · · · · · ·MR. ODELL:· It does not.
22· BY MS. HACKER (resuming):
23· · · ·Q· · -- little -- the number on the bottom.
24· · · · · · · · ·MS. HACKER:· Okay.
25· · · · · · · · ·MR. ODELL:· I'm looking at it.· It does not.



                                                                      App.531
                                                                                   YVer1f
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·1· · · ·Q· · And I think you made reference in your testimony
·2· earlier today to the decision from the Fifth Circuit Court of
·3· Appeals in December of 2000 -- or November of 2020; is that
·4· right?
·5· · · ·A· · I believe so, yes.
·6· · · ·Q· · And to your understanding, what was the effect of the
·7· decision by the Fifth Circuit Court of Appeals?
·8· · · ·A· · That we could no longer be in the Medicaid program.
·9· · · ·Q· · Okay.· It reversed the injunction of the district
10· court.
11· · · ·A· · Yes.
12· · · ·Q· · And did the Fifth Circuit Court of Appeals' decision
13· take effect on or about December 14 of 2020?
14· · · ·A· · Yes.
15· · · ·Q· · And I believe you testified that PPGT and the other
16· affiliates then sought a grace period.
17· · · ·A· · Yes.
18· · · ·Q· · And what was the purpose of the grace period sought
19· by PPGT from the state of Texas?
20· · · ·A· · It was to give patients time to access services while
21· they still had access and to educate them and try to help them
22· find new Medicaid providers.
23· · · ·Q· · Was one of the goals also to assist in continuity of
24· care for those patients?
25· · · · · · · · ·MS. HACKER:· Object to the form.



                                                                      App.532
                                                                                   YVer1f
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·1· BY THE WITNESS (resuming):
·2· · · ·A· · Yes.
·3· · · ·Q· · And do you have an understanding of what continuity
·4· of care means in this context?
·5· · · ·A· · In relation to reproductive healthcare, our biggest
·6· concern would be individuals that are on certain methods of
·7· birth control and ensuring that they can stay on that method of
·8· birth control, so if individuals wanted long-acting reversible
·9· contraception or emergency contraception, we would -- or
10· Depo-Provera, which is the 90-day method of -- 90-or-after-day
11· method of birth control, we would have wanted to provide that
12· to help provide continuity of care to the next provider.
13· · · ·Q· · And Did PPGT in fact provide that care to its Texas
14· Medicaid patients during the grace period?
15· · · ·A· · Yes.
16· · · ·Q· · And did PPGT make any efforts to assist its Texas
17· Medicaid patients in finding new Medicaid coverage during the
18· grace period?
19· · · · · · · · ·MR. MOORE:· Objection, form.
20· BY THE WITNESS (resuming):
21· · · ·A· · Right.· Any Medicaid providers -- for their new
22· providers, yes.
23· · · ·Q· · I screwed up that question.· Let me start over.
24· During the grace period that was granted by the state of Texas,
25· did PPGT make any efforts to assist its Medicaid patients in



                                                                      App.533
                                                                                   YVer1f
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·1· finding new providers?
·2· · · · · · · · ·MR. MOORE:· Objection, form.
·3· BY THE WITNESS (resuming):
·4· · · ·A· · Yes, we did.· We provided a list to patients.· In
·5· certain instances we would make calls or reach out to other
·6· community health providers seeing if they would accept our
·7· patients as an existing patient of their practice.
·8· · · ·Q· · You were asked some questions about an
·9· enrollment-application denial dated March 24th, 2021, which was
10· Exhibit 31 to your deposition.· Do you recall that?
11· · · ·A· · I do.
12· · · ·Q· · Do you have that in front of you, Exhibit 31,
13· Mr. Lambrecht?
14· · · ·A· · I believe I do.· (Reviewing.)· Yes.
15· · · ·Q· · And you were asked questions by the plaintiffs about
16· this denial document.· Do you know when Planned Parenthood of
17· Greater Texas submitted the application for enrollment that's
18· referenced here?
19· · · ·A· · No, I do not.
20· · · ·Q· · Do you know if it was months earlier than this date?
21· · · ·A· · It could have been.
22· · · ·Q· · Do enrollment-application decisions with the state of
23· Texas in your experience sometimes take months to process?
24· · · ·A· · Yes.
25· · · ·Q· · Okay.· So might this enrollment application have been



                                                                      App.534
                                                                                   YVer1f
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                                                                        Page 1

1                IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
2                          AMARILLO DIVISION
3     United States of America     *
      ex rel. ALEX DOE, Relator, * CIVIL ACTION NO. 2:21-CV-
4                                  * 00022-Z
                                   *
5     The State of Texas           *
      ex rel. ALEX DOE, Relator    *
6                                  *
      The State of Louisiana       *
7     ex rel. ALEX DOE, Relator    *
                                   *
8               Plaintiffs,        *
      V.                           *
9                                  *
      Planned Parenthood           *
10    Federation of America,       *
      Inc., Planned Parenthood     *
11    Gulf Coast, Inc., Planned    *
      Parenthood of Greater        *
12    Texas, Inc., Planned         *
      Parenthood South Texas,      *
13    Inc., Planned Parenthood     *
      Cameron County, Inc.,        *
14    Planned Parenthood San       *
      Antonio, Inc.,               *
15                                 *
                Defendants         *
16
17             *******************************************
18                  ORAL AND VIDEOTAPED DEPOSITION OF
19              TEXAS HEALTH AND HUMAN SERVICES COMMISSION
20                       AND THE STATE OF TEXAS
21                     30(b)(6) JEFFREY GOLDSTEIN
22                          DECEMBER 7, 2022
23             ********************************************
24
25

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                                            App.535
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                                                                        Page 94

1           A.    And that gets reported to the federal, and then

2     the feds report that to the State, and all states are

3     supposed to -- the State is supposed to abide by when we

4     get a federal notice that somebody has been excluded.

5           Q.    And then the State is supposed to exclude that

6     person, as well, from the State program.                 Is that right?

7           A.    That's correct.

8           Q.    Okay.

9           A.    But this deals with exclusion, and we're

10    dealing with termination.

11          Q.    What's the difference between exclusion and

12    termination?

13          A.    Exclusion generally is -- you're excluded for a

14    certain period of time.           For example, you lose your

15    license.     You get -- you can -- you're eligible for

16    reinstatement upon reinstatement of your license.                      You

17    could be excluded for anywhere from one year to I guess

18    permanent exclusion.

19          Q.    Okay.    And how does termination differ?

20          A.    Termination is of a contract.             They are similar

21    in regards to the due process, but it's differentiated in

22    the TAC sections, also.

23          Q.    Okay.    And the termination for the Planned

24    Parenthood Texas affiliates were terminations of their

25    relevant provider agreements.             Is that right?

                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
                                                                              App.536
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     Melaney Linton                                                December 10, 2022
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·1· · · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
·2· · · · · · · · · · · AMARILLO DIVISION

·3
· · UNITED STATES OF· · · · *
·4· AMERICA, ex rel. ALEX· ·*
· · DOE, Relator,· · · · · ·*
·5· · · · · · · · · · · · · *
· · THE STATE OF TEXAS, ex *
·6· rel. ALEX DOE, Relator, *
· · · · · · · · · · · · · · *
·7· THE STATE OF LOUISIANA, *
· · ex rel. ALEX DOE,· · · ·*
·8· Relator,· · · · · · · · *
· · · · · · · · · · · · · · *
·9· VS.· · · · · · · · · · ·* CIVIL ACTION NO.
· · · · · · · · · · · · · · *· · 2:21-CV-00022-Z
10· · · · · · · · · · · · · *
· · PLANNED PARENTHOOD· · · *
11· FEDERATION OF AMERICA, *
· · INC., PLANNED PARENTHOOD*
12· GULF COAST, INC.,· · · ·*
· · PLANNED PARENTHOOD OF· ·*
13· GREATER TEXAS, INC.,· · *
· · PLANNED PARENTHOOD SOUTH*
14· TEXAS, INC., PLANNED· · *
· · PARENTHOOD CAMERON· · · *
15· COUNTY, INC, PLANNED· · *
· · PARENTHOOD SAN ANTONIO, *
16· INC.· · · · · · · · · · *

17

18· · ·***************************************************
· · · · · · · · ORAL AND VIDEOTAPED DEPOSITION OF
19· · · · · · · · · · ·MS. MELANEY LINTON
· · · · · · · · · · · ·DECEMBER 10TH, 2022
20· · ·**************************************************

21

22· ORAL AND VIDEOTAPED DEPOSITION of MS. MELANEY LINTON,

23· produced as a witness at the instance of the Relator,

24· and duly sworn, was taken in the above-styled and

25· numbered cause on the 10TH of DECEMBER, 2022, from




                                                                      App.537
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·1· · · A.· ·Yes.
·2· · · Q.· ·And it's dated October 19th, 2015?
·3· · · A.· ·Yes.
·4· · · Q.· ·And is this one of the documents that
·5· you reviewed in preparation for your deposition?
·6· · · A.· ·Yes.
·7· · · Q.· ·Okay.· As I understand it,
·8· Planned Parenthood Gulf Coast had made a decision
·9· not to pursue administrative remedies in response
10· to this initial Notice of Termination, correct?
11· · · A.· ·We decided to file a lawsuit in federal court.
12· · · Q.· ·Okay.· My question, though, was, there was
13· a decision made not to pursue administration remedies,
14· correct?
15· · · · · · · · ·MR. ASHBY:· Objection; form.
16· · · A.· ·At that time, we decided to file a
17· federal lawsuit.
18· · · · · · · · ·MS. KENNEDY:· Okay.· Objection;
19· nonresponsive.
20· · · Q.· ·(BY MS. KENNEDY)· Did you pursue any of
21· your administrative remedies as set forth in the notice?
22· · · A.· ·Not at that time.
23· · · Q.· ·Okay.· And after receiving the initial
24· Notice of Termination, what steps did Planned Parenthood
25· Gulf Coast take with respect to a response, if any,



                                                                      App.538
                                                                                   YVer1f
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·1· to that notice?
·2· · · · · · · · ·MS. LOLLAR:· Objection to form.
·3· · · A.· ·Our response was the federal lawsuit that
·4· we filed.
·5· · · Q.· ·(BY MS. KENNEDY)· And when did
·6· Planned Parenthood Gulf Coast make the decision to
·7· file a federal lawsuit?
·8· · · A.· ·I don't recall the exact date
·9· without refreshing my memory looking at the documents,
10· but sometime within the next few weeks of receiving
11· this letter.
12· · · Q.· ·Okay.· And I want to focus on the --
13· the decision to file the lawsuit and when that decision
14· was made.· So that you're clear on my answer [sic], I am
15· not asking you when the lawsuit was filed.
16· · · · · · · · ·Do you have an answer as you sit here
17· today about when that decision to file the lawsuit
18· rather than pursue administrative remedies was made?
19· · · A.· ·At some point in the weeks after we received
20· this termination.· I don't have a specific recollection
21· in this moment of when the decision was made.
22· · · Q.· ·Do you know whether or not the decision
23· was made prior to receiving the final
24· Notice of Termination?
25· · · · · · · · ·MS. LOLLAR:· Objection to form.



                                                                      App.539
                                                                                   YVer1f
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   Melaney Linton                                                  December 10, 2022
                                                                             Page 53


·1· · · Q.· ·Okay.
·2· · · A.· ·I don't recall any that they were involved in.
·3· · · Q.· ·Okay.· Was the response to the initial
·4· Notices of Termination that were sent to
·5· Planned Parenthood Gulf Coast and Planned Parenthood
·6· South Texas and Planned Parenthood Greater Texas
·7· a coordinated response?
·8· · · · · · · · ·MS. LOLLAR:· Objection; form.
·9· · · A.· ·Each affiliate -- my affiliate made its
10· own decision about how to proceed.
11· · · Q.· ·(BY MS. KENNEDY)· And Planned Parenthood
12· Gulf Coast chose to proceed with litigation, correct?
13· · · A.· ·Yes.
14· · · Q.· ·And Planned Parenthood Greater Texas
15· chose to proceed with litigation, correct?
16· · · A.· ·Yes.
17· · · Q.· ·And Planned Parenthood South Texas
18· chose to proceed with litigation, correct?
19· · · A.· ·Yes.
20· · · Q.· ·Okay.· And Planned Parenthood Gulf Coast
21· understood that if it failed to pursue
22· its administrative remedies that the termination
23· would become final and non-appealable, correct?
24· · · · · · · · ·MS. LOLLAR:· Objection; form.
25· · · · · · · · ·MS. KENNEDY:· Objection; form.



                                                                      App.540
                                                                                   YVer1f
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·1· any information provided to the Board was provided by
·2· counsel or in the presence of counsel, you should
·3· not provide that information.
·4· · · A.· ·All the information was provided either
·5· by counsel or in the presence of counsel.
·6· · · Q.· ·(BY MS. KENNEDY)· Okay.· And you --
·7· your understanding is that there was a
·8· Preliminary Injunction issued in the federal court
·9· litigation, correct?
10· · · A.· ·Yes.
11· · · Q.· ·Okay.· And that Planned Parenthood
12· Federation of America Lit and Law attorneys
13· represented PPGC in that federal court action, correct?
14· · · A.· ·Yes.· And we may have had another -- another --
15· we usually have a number of local legal counsel.· As
16· I recall, we had Texas counsel in that case, as well.
17· · · Q.· ·Okay.· And how did Planned Parenthood
18· Gulf Coast come to retain the Lit -- the
19· Litigation and Law attorneys for the federal court
20· litigation?
21· · · A.· ·That would have been a conversation that
22· my in-house general counsel had with the attorneys
23· at PPFA Litigation and Law.
24· · · Q.· ·Okay.· And the federal court granted
25· the Preliminary Injunction on January 19th of 2017.· Do



                                                                      App.541
                                                                                   YVer1f
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·1· in this matter.
·2· · · Q.· ·(BY MS. KENNEDY)· Were the Planned Parenthood
·3· Federation of -- of America -- I will get it right.
·4· · · · · · · · ·Were the Planned Parenthood
·5· Federation of America Litigation and Law attorneys
·6· involved in the drafting of the letter requesting
·7· the grace period?
·8· · · · · · · · ·MS. LOLLAR:· Ms. Linton, you can answer
·9· that with a, "Yes," or, "No," if you know, but
10· nothing beyond that.
11· · · A.· ·I don't recall.
12· · · Q.· ·(BY MS. KENNEDY)· Let me hand you what
13· I am marking as Exhibit 5 to your deposition,
14· Ms. Linton.
15· · · · · · · · ·(Linton Exhibit No. 5 was marked.)
16· · · Q.· ·(BY MS. KENNEDY)· Do you recognize what we've
17· marked as Exhibit 5?
18· · · A.· ·Yes.
19· · · · · · · · ·MS. KENNEDY:· And for the record, Exhibit
20· 5 is PPST0000294 through 296.
21· · · Q.· ·(BY MS. KENNEDY)· And, Ms. Linton, do you see
22· that you're a recipient of this e-mail from Karen Ray
23· dated January 4th, 2021?
24· · · A.· ·Yes.
25· · · Q.· ·And do you also see that Jennifer Sandman



                                                                      App.542
                                                                                   YVer1f
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·1· with PPFA.org is also a recipient of this e-mail
·2· from Karen Ray?
·3· · · A.· ·Yes.
·4· · · Q.· ·Does that help refresh your recollection as
·5· to whether Ms. Sandman was involved in the drafting
·6· of the request for a grace period?
·7· · · A.· ·Yes.
·8· · · Q.· ·Okay.· And, in fact, the Litigation and Law
·9· counsel was coordinating a Texas-wide strategy
10· regarding the responses to the Notices for Termination
11· and the federal court litigation; isn't that correct?
12· · · · · · · · ·MS. LOLLAR:· Objection; form.
13· · · A.· ·If they were, it would have been because
14· after we had each wanted to work with them, we
15· would have asked them to do that part of that.
16· · · Q.· ·(BY MS. KENNEDY)· Is that your recollection
17· as far as PPGC is concerned?
18· · · · · · · · ·MS. LOLLAR:· Objection to form.
19· · · A.· ·My general counsel would have been a part
20· of more of those conversations than I would have been.
21· · · Q.· ·(BY MS. KENNEDY)· All right.· My question is,
22· do you have a recollection?
23· · · A.· ·I have some recollection.
24· · · Q.· ·And what is that recollection?
25· · · A.· ·That there were some discussions.



                                                                      App.543
                                                                                   YVer1f
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·1· · · Q.· ·Okay.· Okay.· So there -- could you describe --
·2· okay.· Let me back up.
·3· · · · · · · · ·I believe that Mr. Curtis testified
·4· last week that Planned Parenthood Center for Choice has
·5· been dissolved.· Is that correct?
·6· · · A.· ·It is in the process of being dissolved.
·7· · · Q.· ·Okay.· And could you explain the relationship
·8· between PPGC and Planned Parenthood Center for Choice?
·9· Or I will refer to it as, "PPCFC."
10· · · A.· ·Would you define, "relationship"?
11· · · Q.· ·How do those two entities interact, and
12· how are they related?
13· · · A.· ·The -- there is a Management &
14· Services Agreement between the two entities.
15· · · Q.· ·Uh-huh.
16· · · A.· ·The officers of the PP Gulf Coast Board
17· serve as the Board of Planned Parenthood
18· Center for Choice.· And I serve as the president
19· of Planned Parenthood Center for Choice.
20· · · Q.· ·Okay.· And are -- do -- Planned Parenthood
21· Center for Choice, did their activities take place
22· within PPGC facilities?
23· · · · · · · · ·MS. LOLLAR:· Objection; form.
24· · · A.· ·Can you restate the question?
25· · · Q.· ·(BY MS. HACKER)· Uh-huh.



                                                                      App.544
                                                                                   YVer1f
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·1· · · · · · · · ·Did PPCFC's activities take place within
·2· PPGC's facilities?
·3· · · · · · · · ·MS. LOLLAR:· Same objection.
·4· · · A.· ·Can you define, "within"?
·5· · · Q.· ·(BY MS. HACKER)· Sure.· So I will give an
·6· example.
·7· · · · · · · · ·I believe that there was an
·8· Ambulatory Surgical Center that was affiliated
·9· with PPCFC.· Is that right?
10· · · A.· ·Can you define, "affiliated"?
11· · · Q.· ·Is there -- okay.· So there is an
12· Ambulatory Surgical Center located within
13· PPGC's facility on Gulf Freeway; is that right?
14· · · A.· ·No.
15· · · Q.· ·Okay.· Was there at -- at some point?
16· · · A.· ·Yes.
17· · · Q.· ·Okay.· And when there was an ASC there, was
18· that operated by PPGC or PPCFC?
19· · · A.· ·PPCFC.
20· · · Q.· ·But that was located within PPGC's facility
21· on the Gulf Freeway; is that right?
22· · · A.· ·It was a separate suite.
23· · · Q.· ·Yes.
24· · · · · · · · ·In -- in the building, right?
25· · · A.· ·In the same building.



                                                                      App.545
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·1· · · Q.· ·Okay.· In the first paragraph, it says, "Based
·2· on the initial findings of Louisiana's investigation
·3· into Planned Parenthood Gulf Coast (PPGC), you are
·4· hereby notified that the Department of Health
·5· and Hospitals (DHH) is hereby terminating/revoking the
·6· PPGC agreement above.· This action is being taken
·7· pursuant to Louisiana R.S. 46:437.11 and 46:437.14.
·8· This action will take effect following final
·9· determination, judgment, completion, withdraw from, or
10· termination of all administrative and/or legal
11· proceedings in this matter.· Such proceedings include,
12· but are not limited to, informal hearings,
13· administrative appeals, appeals for judicial review,
14· appellate judgments, and/or denials of writ
15· applications."
16· · · · · · · · ·Did I read that right?
17· · · A.· ·Yes.
18· · · Q.· ·Okay.· After PPGC received this letter,
19· PPGC filed a federal lawsuit in Louisiana; is that
20· right?
21· · · A.· ·Yes.
22· · · Q.· ·Okay.· Did PPGC ever request or participate
23· in informal hearings for administrative appeals
24· in Louisiana?
25· · · A.· ·Yes.



                                                                      App.546
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·1· · · Q.· ·Okay.· Regarding this termination?
·2· · · A.· ·Yes.
·3· · · Q.· ·Okay.· And when was that?
·4· · · A.· ·Sometime in the last year or so.
·5· · · Q.· ·Okay.· Like, the last few months?
·6· · · · · · · · ·MS. LOLLAR:· Objection; form.
·7· · · A.· ·Can you repeat the question, please?
·8· · · Q.· ·(BY MS. HACKER)· Was it sometime in the
·9· last few months, do you remember, that you
10· participated in an informal hearing or
11· administrative appeal in Louisiana in regards to this
12· letter?
13· · · · · · · · ·MS. LOLLAR:· Same objection.
14· · · A.· ·To the best of my recollection, it was
15· earlier than that.
16· · · Q.· ·(BY MS. HACKER)· Okay.· But it wasn't in 2015,
17· right?
18· · · A.· ·That is correct.
19· · · Q.· ·Okay.· It would have been in either
20· 2021 or 2022.· Is that fair?
21· · · A.· ·Can you restate the question, please?
22· · · Q.· ·Sure.· Yeah.
23· · · · · · · · ·It would have been in either 2021 or 2022
24· that you participated in an informal hearing
25· or administrative appeal in Louisiana regarding



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·1· this letter.· Is that fair?
·2· · · A.· ·Yes.
·3· · · Q.· ·Okay.· And in the second paragraph of this
·4· letter, it discusses I believe it's in the
·5· other False Claims Act cases that PPGC was involved in;
·6· is that right?
·7· · · A.· ·Yes.
·8· · · Q.· ·And that was part of the basis for
·9· Louisiana's termination of PPGC's Medicare
10· Provider Agreement in Louisiana?
11· · · · · · · · ·MR. ASHBY:· Objection; nonresponsive.
12· · · · · · · · ·MS. LOLLAR:· Objection; form.
13· · · A.· ·That's what the letter says.
14· · · Q.· ·(BY MS. HACKER)· Okay.· It states a few lines
15· down from the top of the second paragraph that -- in the
16· sentence beginning, "Further," "Further, under that
17· same administrative code, PPGC had an affirmative duty
18· to inform BHSF in writing of this violation.· Since DHH
19· through BHSF was not informed in writing within
20· ten working days of when the provider knew or should
21· have known of the violation, this constitutes a
22· separate violation."
23· · · · · · · · ·Is that correct?
24· · · · · · · · ·MS. LOLLAR:· Objection; form.
25· · · Q.· ·(BY MS. HACKER)· Did I read that correctly?



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                                                                                   YVer1f
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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS

      PLANNED PARENTHOOD OF GREATER*
      TEXAS FAMILY PLANNING AND     *
      PREVENTATIVE HEALTH SERVICES, *
      INC., ET AL                   *
           Plaintiffs               *         CIVIL ACTION NO.
                                         *    1:15-CV-01058
       vs.                               *
                                         *
       CHRIS TRAYLOR, ET AL              *
           Defendants                    *
       ******************************************************
                TRANSCRIPTION OF VIDEO FILES LABELED
         FNND0569_20150409071822, FNND0569_20150409074648,
         FNND0569_20150409081515, FNND0569_20150409084341,
         FNND0569_20150409091208, FNND0569_20150409094034,
         FNND0569_20150409100901, FNND0569_20150409103727,
         FNND0569_20150409110553, FNND0569_20150409113420,
         FNND0569_20150409120246, FNND0569_20150409123112,
         FNND0569_20150409125940, FNND0569_20150409131657,
         FNND0569 20150409134524, FNND0569 20150409141350
                    AND FNND0569 20150409144217
      ******************************************************




      TRANSCRIBED BY: SALLY REIDY

      TRANSCRIPTION DATE:     DECEMBER 2, 2016



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                                                                         PPGC00147431
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                                                                               31
   1   all sent away once a week for incineration.

   2                SUSAN TANNENBAUM:     Okay, okay.

   3                MELISSA FARRELL:     That's the scope of all of

   4   it.

   5                SUSAN TANNENBAUM:     So this is kind of an

   6 avenue off but this is something in -- this is of late

   7   that I saw.     And I don't know that much about this

   8   area, this is more of Robert's, but we're asking for

   9   intact specimens.     And the technician took a hose and

  10   was just full-force spraying.          And Robert said, well,

  11   you know, could you be losing things.

  12                ROBERT SARKIS:     Yes.     I mean or not just even

  13   losing but there's two -- I mean there's basically two

  14   considerations for,     you know, when we're trying to get

  15   the particular, you know, organ types or tissue types

  16   requested.     I mean one factor for specimen quality is,

  17   you know, the nature of the procedure itself, are you

  18   doing an eye pass or you doing electrical suction, are

  19   you doing a D&E, is it breech presentation

  20                MELISSA FARRELL:     Yes.

  21                ROBERT SARKIS:     -- stuff like that.     But then

  22   what we're realizing, you know, as we're observing some

  23   of the processes here is there's kind of another mode

  24   too.   When they're doing the regular POC check and

  25   they're blasting with the hose.          You could have a lot


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                                                                               32
   1   of, you know,      stuff still sitting in the body cavity

   2   but you' re blasting it with the --

   3               MELISSA FARRELL:     Yeah.

   4               ROBERT SARKIS:         fire hose and it's going

   5   all over.    And then you dump it all in the light dish

   6   and, you know,      then you've got to play find the liver

   7   for,   you know,    for --

   8               MELISSA FARRELL:     Right.

   9               SUSAN TANNENBAUM:     But (indiscernible) have --

  10               ROBERT SARKIS:         an hour after that.

  11               SUSAN TANNENBAUM:           no idea that --

  12               MELISSA FARRELL:     Yeah.

  13               ROBERT SARKIS:     And --

  14               MELISSA FARRELL:     Well, so under the scope of

  15   where we probably have an edge over other

  16   organizations, our organization has been doing research

  17   for many, many, many years and we've had studies in

  18   which the company or in the case of the investigator

  19   has a specific need for a certain portion of the

  20   products of conception, and we bake that into our

  21   contract and our protocol, that we follow this.            So we

  22   deviate from our standard in order to do that.

  23               So, you know, we can do it in a way that we're

  24   still verifying that everything is there for the safety

  25   of the patient, but then we still maintain the


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                                                                               33
   1   integrity of that sample.

   2               SUSAN TANNENBAUM:      Okay.

   3               MELISSA FARRELL:     So, yeah, that's definitely

   4   something we can do.      But as far as this is our

   5   standard process, I'm telling you this so then we can

   6 get creative about when and where and under what

   7   conditions can we interject something that is specific

   8   to the tissue --

   9               SUSAN TANNENBAUM:      So that --

  10               MELISSA FARRELL:     -- procurement needs, yeah.

  11               SUSAN TANNENBAUM:      Sorry.   That goes to my,

  12   perfect for my next can you get creative.

  13               MELISSA FARRELL:     Uh-huh.

  14               SUSAN TANNENBAUM:      Can you alter if we say we

  15   need a liver.

  16               ROBERT SARKIS:     Or not just liver/thymus but,

  17   you know, let's say neural tissue is --

  18               MELISSA FARRELL:     Right, the neural tissue is

  19   what we

  20               ROBERT SARKIS:        very difficult because --

  21               SUSAN TANNENBAUM:     Could you --

  22               MELISSA FARRELL:     -- you know,    specifically in

  23   the past.

  24               SUSAN TANNENBAUM:      -- adjust the procedure if

  25   you knew, okay, they need high volume of this, could


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                                                                        PPGC00147463
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   1

   2                     (End of Video FNND0569 20150409074648)

   3                     (Begin of Video FNND0569 20150409081515)

   4                MELISSA FARRELL:        sometimes the procedures

   5   are longer.     So then anything that we piggyback off to

   6   that for collection purposes obviously, you know, would

   7   have to reflect that additional time cost --

   8                SUSAN TANNENBAUM:    Right.

   9                MELISSA FARRELL:    -- administrative burden.

  10                SUSAN TANNENBAUM:     So that our compensation

  11   that's higher to you for our specific specimens intact

  12   could be

  13                MELISSA FARRELL:    Yeah.

  14                SUSAN TANNENBAUM:        built in to that.

  15                MELISSA FARRELL:    And that's something that

  16   getting more information about it, you know, as intact

  17   as you need, how we're going to do that.          Then from

  18   there getting -- when I'm working with our clinical

  19   trials and all of our specimen collection, additional

  20   specimen collection needs I'm pretty bullish about

  21   getting as much information as I can prior to

  22   budgeting.

  23                SUSAN TANNENBAUM:     I see.

  24                MELISSA FARRELL:    Because I can't budget

  25   effectively and correctly if I don't have all the


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                                                                        PPGC00147480
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                                                                               51
   1   information, and otherwise I'm budgeting blindly.            And

   2   I have an expression,     I say you can't budget for crazy.

   3   I need to know everything that's involved, have it in

   4   writing so I can sit down with the parties that are

   5   actually doing the work and say, okay, guys, let's work

   6   this out now.    And then we will even go so far is to

   7   have time trials when we go up there with a stopwatch

   8   and timed how much

   9   -- so we can at least know what our cost is.           Because,

  10   you know,   I think in terms of budgeting, if you don't

  11   even know your costs how can you develop a budget to

  12   cover that.

  13               ROBERT SARKIS:     Right.

  14               SUSAN TANNENBAUM:      Okay.

  15               MELISSA FARRELL:     So, yeah.

  16               SUSAN TANNENBAUM:     Well,    I want to tell this

  17   to you that this might prevent some of your crazy

  18               MELISSA FARRELL:     Good.

  19               SUSAN TANNENBAUM:      -- that if you run into

  20   crazy I want you to come,      feel free to come back to me

  21   and say, you know,    for that request, to match those

  22   requests we need a little more for that specimen --

  23               MELISSA FARRELL:     Right.

  24               SUSAN TANNENBAUM:      -- that you come back to me

  25   and say what you're compensating for that, we want to


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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION


      PLANNED PARENTHOOD OF                     §
      GREATER TEXAS FAMILY                      §
      PLANNING AND PREVENTATIVE                 §
      HEALTH SERVICES, INC., et al.,            §
                                                §
             Plaintiffs,                        §
                                                §     Civil Action No.1:15-cv-01058-SS
      v.                                        §
                                                §
      CHARLES SMITH, et al.,                    §
                                                §
             Defendants.                        §




      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’ MOTION
                    FOR PRELIMINARY INJUNCTION


            States have the right to terminate a provider’s Medicaid agreement for reasons

    bearing on that provider’s qualifications, and “qualified” means “to be capable of

    performing the needed medical services in a professionally competent, safe, legal, and

    ethical manner.” Planned Parenthood of Gulf Coast, Inc., v. Gee, 837 F.3d 477, 495

    (5th Cir. 2016). The termination of Planned Parenthood’s Medicaid provider

    agreements in Texas is attributable to the mounting evidence that they engage in

    gross violations of medical and ethical standards. On multiple occasions, Planned

    Parenthood has engaged in misrepresentation and obfuscation in order to conceal

    their activities. After they were caught on an undercover video 1 trying to arrange a



    1 DX-2(a).


                                                                                   Page 1




                                                                                      App.555
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    deal with a tissue procurement company for fetal tissue, Planned Parenthood began

    repeating the baseless claim that the videos were deceptively edited, fraudulent, and

    discredited as if it were a fact. It is not—as the evidence in this case shows 2—and

    neither are so many of the other baseless claims that Planned Parenthood continues

    to make regarding their activities related to fetal tissue donation, their corporate

    structure, and their dependence on Medicaid funds.

            Here are the facts, which are borne out by the raw, unedited video footage shot

    at Planned Parenthood Gulf Coast (“PPGC”), the exhibits submitted by the

    Defendants, and the testimony to be presented at the hearing on January 17-19, 2017.

    Planned Parenthood has provided fetal tissue specimens to researchers for several

    years. They have professed a willingness to alter abortion procedures to obtain better,

    more intact specimens. Never mind that federal law governing fetal tissue research

    forbids altering procedures solely for research purposes. Planned Parenthood

    physicians have performed abortions, harvested fetal tissue from those abortions for

    their own published research without telling patients about their conflict of interest,

    and, in at least one instance, took the fetal tissue “home in their cooler.” 3

            Planned Parenthood has gone to great lengths to mislead the public about the

    grisly reality exposed by the video footage. These efforts to distort the truth have not

    been limited to the public at-large, but also extend to a Texas Ranger, the United

    States Senate Committee on the Judiciary; and the Fifth Circuit Court of Appeals.




    2 Id.; DX-190.
    3 DX-2(a).


                                                                                     Page 2




                                                                                        App.556
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            Plaintiffs argue that their termination is politically motivated, but once again,

    reality contradicts their claims. The termination of Planned Parenthood’s Medicaid

    provider agreements is motivated by considerations of medical and ethical standards

    in addition to human decency. The fact that Planned Parenthood is willing to

    disregard medical and ethical standards compels the OIG to terminate their Medicaid

    agreements. As a result, Plaintiffs cannot show that they are entitled to a preliminary

    injunction against that termination, and their motion should be denied.

                                  STATEMENT OF FACTS

            In mid-2015, the Center for Medical Progress (“CMP”) began releasing a series

    of undercover videos filmed at various Planned Parenthood locations, including the

    Houston headquarters of PPGC. This video captured a discussion between PPGC

    employees and individuals posing as representatives from a biomedical company

    seeking aborted fetal tissue for research. 4 During the hours of footage, PPGC

    employees, most notably the director of research, expressed a willingness to alter the

    timing, method, and procedures for surgical abortions based upon the needs of the

    researchers. 5

            On October 19, 2015, the Health and Human Services Office of the Inspector

    General (“OIG”) issued non-final Notice of Termination letters to Planned Parenthood

    Gulf Coast (PPGC”), Planned Parenthood Greater Texas (“PPGT”), and Planned

    Parenthood South Texas (“PPST”) based on a series of program violations under both




    4 Id.
    5 Id.


                                                                                      Page 3




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    state and federal law. The Provider plaintiffs elected not to participate in the

    administrative process that follows such a notice and filed the instant lawsuit along

    with several Jane Doe plaintiffs, requesting a preliminary injunction. But since a

    final determination to terminate the provider agreements had not been made, the

    parties agreed to stay the case pending a final determination.

              Due to the need for further investigation into the underlying violations, the

    OIG did not issue a Final Notice of Termination of Enrollment (“Final Notice”) until

    late last year. 6 On December 20, 2016, OIG issued the Final Notice of Termination

    for failure to provide medical services in a professionally competent, safe, legal, and

    ethical manner. The Final Notice explains that the unedited video footage displayed

    “that Planned Parenthood follows a policy of agreeing to procure fetal tissue,

    potentially for valuable consideration, even if it means altering the timing or method

    of an abortion.” 7 The Final Notice continues that Planned Parenthood’s “practices

    violate accepted medical standards, as reflected in federal and state law, and are

    Medicaid program violations that justify termination.” 8

              The Final Notice also explains that the OIG has “evidence that [Planned

    Parenthood] engaged in misrepresentations about [its] activity related to fetal tissue

    procurements, as revealed by evidence provided by the House Investigative Panel.” 9

    The House Investigative Panel was a group within the United States House of




    6 DX-1.
    7 Id.
    8 Id.
    9 Id.


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    Representatives charged with investigating the fetal tissue procurement industry. 10

    After investigating PPGC, on December 1, 2016, the Panel made a referral to the

    Attorney General of Texas requesting further investigation. 11 Attached to the referral

    was copious evidence that was consistent with and supportive of the OIG’s decision

    to terminate the Medicaid contracts of Planned Parenthood. The other Texas Planned

    Parenthood affiliates were terminated based on evidence of affiliation with PPGC and

    Planned Parenthood Federation of America (“PPFA”), as permitted by state law. The

    termination is to take effect on January 21, 2017.

             On December 30, 2016, Planned Parenthood and several Jane Does requested

    the Court enjoin the termination. Currently, this matter is set for an evidentiary

    hearing on January 17-19, 2017.

                                        ARGUMENT

             Four equitable factors govern a preliminary injunction motion: (1) whether

    there is a substantial likelihood that the movant will prevail on the merits; (2)

    whether there is a substantial threat that irreparable injury will result if the

    injunction is not granted; (3) whether the threatened injury outweighs the threatened

    harm, if any, to the non-movant; and (4) whether granting the preliminary injunction

    will serve the public interest. Jackson Women’s Health Org. v. Currier, 760 F.3d 448,

    452 (5th Cir. 2014). The movant must clearly carry the burden of persuasion with

    respect to each factor. Karaha Bodas Co. v. Perusahaan Pertambangan Minyak Dan




    10 DX-68.
    11 Id.


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    Gas Bumi Negara, 335 F.3d 357, 363 (5th Cir. 2003); White v. Carlucci, 862 F.2d 1209,

    1211 (5th Cir. 1989) (providing that a preliminary injunction “is an extraordinary and

    drastic remedy, not to be granted routinely, but only when the movant, by a clear

    showing, carries the burden of persuasion”).

          If the movant fails to establish any of the four perquisites, injunctive relief will

    not be granted. Women’s Med. Ctr. Of Nw. Hous. v. Bell, 248 F.3d 411, 419 n.15 (5th

    Cir. 2001). The decision to grant or deny preliminary injunctive relief is left to the

    sound discretion of the district court. Miss. Power & Light Co. v. United Gas Pipe Line

    Co., 760 F.2d 618, 621 (5th Cir. 1985). Even when a movant satisfies each of the four

    prerequisites, the decision whether to grant or deny a preliminary injunction remains

    within the discretion of the district court. Id. Stated differently, the award of

    preliminary relief is never “strictly a matter of right, even though irreparable injury

    may otherwise result to the plaintiff,” but is rather “a matter of sound judicial

    discretion” and careful balancing of the interests of—and possible injuries to—the

    respective parties. Yakus v. United States, 321 U.S. 414, 440 (1944). Granting a

    preliminary injunction should be the exception rather the rule. Miss. Power & Light

    Co., 760 F.2d at 621.

          It is the Plaintiffs’ motion, and therefore the Plaintiffs’ burden to show that

    each of the four prongs of the test above are met. But Plaintiffs cannot make such a

    showing in the face of the substantial evidence the State will provide to support its

    termination of Planned Parenthood’s Medicaid provider agreements. Thus, the

    motion for preliminary injunction should be denied.



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      I.   Plaintiffs Cannot Show a Likelihood of Success on the Merits.

           In order to carry their burden in showing that they are entitled to a

    preliminary injunction, the Plaintiffs must show they are likely to succeed on the

    merits of their claims. Jackson Women’s Health, 760 F.3d at 452. The standards of

    the underlying substantive law inform the likelihood of success analysis. Roho, Inc.

    v. Marquis, 902 F.2d 356, 358 (5th Cir. 1990).

       A. The Law Allows States to Terminate Medicaid Provider Agreements
          for Reasons Based on the Provider’s Qualifications.

           The Medicaid program, created by Title XIX of the Social Security Act, is a

    program “through which the federal government provides financial aid to states that

    furnish medical assistance to eligible low-income individuals.” S.D. ex rel. Dickson v.

    Hood, 391 F.3d 581, 585-86 (5th Cir. 2004). “Spending clause legislation like Medicaid

    ‘is much in the nature of a contract.’” Armstrong v. Exceptional Child Ctr., Inc., 135

    S. Ct. 1378, 1387 (2015) (quoting Pennhurst State Sch. and Hosp. v. Halderman, 451

    U.S. 1, 17 (1981)). Similarly, Medicaid providers must live up to certain obligations,

    as well. See 42 U.S.C. § 1320a-7. When providers fail to do so, the Secretary of HHS

    may exclude them under certain mandatory and permissive grounds in the Social

    Security Act. Id.

           The hallmark of programs like Medicaid is the concept of cooperative

    federalism. Under such programs, the federal and state governments each contribute

    funds to the program and work cooperatively together to administer the program and

    its funds. Administrative authority flows both ways between the states and the

    federal government. Section 1002.2 of the Medicaid regulations recognizes a state’s

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    authority to exclude a Medicaid provider as a state contractor “for any reason or

    period authorized by State law,” expressly contemplating states filling in any gaps in

    the program’s administration not addressed by the federal statutes See 42 C.F.R.

    § 1002.2(b). And federal law authorizes the Secretary to exclude providers who have

    been excluded on state law grounds, illustrating the complementary nature of

    determining provider eligibility under the regulatory scheme. 42 U.S.C. § 1320a-

    7(b)(5).

            The free-choice-of-provider provision in the Medicaid Act states that

    beneficiaries may obtain medical care from any entity or person who is “qualified to

    perform the service or services required” and “who undertakes to provide him such

    services.” 42 U.S.C. § 1396a(a)(23); see also Gee, 837 F.3d at 489. 12 The Medicaid

    statute itself, however, does not define the term “qualified.” See id. at 492. Thus,

    defining what it means to be a “qualified” provider has been left up to the states. The

    Fifth Circuit has interpreted the term “qualified” in the Medicaid act to mean

    “capable of performing the needed medical services in a professionally competent,




    12 Texas does not concede that 42 U.S.C. § 1396a(a)(23) provides an individual with a private right of

    action. While the panel opinion in Gee came to the opposite conclusion, the Fifth Circuit is still
    considering whether to grant en banc review of that opinion. A response to the petition for rehearing
    en banc was requested by the court and was filed Oct. 11, 2016. In another case in the Fifth Circuit
    involving the Medicaid program, the court held that that the Medicaid Act’s Equal Access provision
    did not confer individual private rights that are enforceable under § 1983. See Equal Access for El
    Paso, Inc. v. Hawkins, 509 F.3d 697 (5th Cir. 2007) (refusing to allow Medicaid recipients to sue under
    § 1983 to enforce the Section 1396a(a)(30)). This intracircuit conflict creates a reasonably likelihood
    that the court may grant rehearing. Moreover, regardless of whether there is a private right of action
    for the Jane Doe plaintiffs under §1396(a)(23), Planned Parenthood lacks a right of action as providers,
    as they are clearly not the intended beneficiaries of the provision, see Armstrong, 135 S. Ct. at 1387.
    The Gee opinion addressed only the claims of the individual plaintiffs, not the provider plaintiffs. 837
    F.3d at 485, 485 n.7. This argument will be discussed more fully in Defendants’ forthcoming motion to
    dismiss.

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    safe, legal, and ethical manner.” Id. What “professionally competent, safe, legal, and

    ethical” means in particular is defined by state law.

          Consistent with this framework, Texas law sets forth grounds for termination

    based on provider qualifications. Under 1 Tex. Admin. Code § 371.1703(c)(8), OIG

    may terminate a Medicaid provider that the OIG establishes by prima facie evidence

    commits an act for which “sanctions, damages, penalties, or liability could be or are

    assessed by the OIG.” § 371.1659(2) allows for sanctions where the provider “fails to

    provide an item or service to a recipient in accordance with accepted medical

    community standards or standards required by statute, regulation, or contract,

    including statutes that govern occupations.” Broadly under Gee, and specifically

    under state law, then, adherence to medical ethics and the standard of care are

    directly related to a provider’s qualifications to provide Medicaid services.

          1.     Planned Parenthood is not qualified as a Medicaid provider
                 under the law due to evidence that they are willing to violate
                 medical and ethical standards.

          1 Texas Admin. Code § 371.1659(2) and § 371.1703(c)(3) authorizes the OIG to

    terminate a Medicaid provider where the provider “fails to provide services in

    accordance with accepted medical community standards or standards required by

    statute, regulation, or contract, including statutes that govern occupations.” And

    based on Gee, a Medicaid provider that fails to provide medical services in an ethical

    manner is not qualified for purposes of 42 U.S.C. §1396a(a)(23). Thus, broadly under

    Gee, and specifically under state law, adherence to medical and ethical standards

    directly relate to a provider’s qualifications to provide Medicaid services. And based


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    on the evidence here, Planned Parenthood has failed to adhere to medical and ethical

    standards in the provision of medical services to patients. Their termination is

    therefore justified.

        a. Willingness to alter an abortion to target fetal tissue for research
           violates medical and ethical standards.

            Modifying an abortion procedure solely for research purposes is a direct

    violation of federal law, regardless of whether or not the modification increased risk

    or discomfort to the patient. 42 U.S.C. § 289g-1 13 states that human fetal tissue may

    only be used for research if “no alteration to the timing, method, or procedures used

    to terminate the pregnancy was made solely for the purposes of obtaining the tissue.”

    The law informs medical and ethical standards, and if medical providers are willing

    to engage in practices that violate the law, they also breach those standards. 14 There

    are numerous instances in the video footage that show a willingness on behalf of

    PPGC’s research and medical staff to alter or modify abortion procedures in order to

    obtain better specimens for researchers. Moreover, the PPGC employees also state

    that their physicians are not only willing to do so in the future, but may have done so

    in the past.

            The video shows that PPGC is willing to deviate from standard processes to

    procure samples that meet a researcher’s needs. Specifically, the video shows that



    13 Plaintiffs assert in a footnote that 42 U.S.C. § 289g-1 pertains only to “transplantation of fetal tissue”

    and is therefore irrelevant. See Pls. Prelim. Inj. Mot. at 15 n.10; Fine Decl. ¶13. But the National
    Institutes of Health (NIH) does not interpret the statute in such a limited manner. See “Reminder of
    Legal Requirements Regarding the Acquisition and Use of Human Fetal Tissue for Research
    Purposes,” NOT-OD-15-143 (Aug. 14, 2015) (citing § 289g-1 and 2 and making no mention of
    transplantation).
    14 See anticipated expert testimony of Professor Orlando Snead and Dr. Mikeal Love.


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    Planned Parenthood has permitted, in at least a few instances, staff physicians to

    alter procedures to get the samples they need for their own outside research. For

    example, at least one fetal tissue researcher worked at PPGC and performed

    abortions to procure fetal tissue for her own research. Melissa Farrell, PPGC’s

    Director of Research, states that the researcher “knows what’s involved in modifying

    what we need to do to get you the specimens that are intact because she’s done it.”

    She also states that this researcher was doing procedures at PPGC, selecting specific

    patients on the schedule and asking staff to try to enroll them based on the samples

    she wanted, and obtaining specimens for her own research. 15 Farrell even stated that

    this researcher would collect her own specimens and then “take it home with her in

    her cooler.” 16 Farrell’s statements not only display a willingness to alter the standard

    of care for a non-medical reason, but they also implicate prohibitions on researchers

    performing abortions and obtaining fetal tissue for their own research. 45 C.F.R.

    § 46.204 (“Pregnant women or fetuses may be involved in research if all of the

    following conditions are met . . . [i]ndividuals engaged in the research will have no

    part in any decisions as to the timing, method, or procedures used to terminate a

    pregnancy . . . .”).

             Farrell also states that Planned Parenthood is willing to “get creative” and

    deviate from standard procedures in order to obtain the specimens researchers desire:

             Well, so under the scope of where we probably have an edge over other
             organizations, our organization has been doing research for many,
             many, many years and we’ve had studies in which the company or in the


    15 DX-2(a).
    16 Id.


                                                                                    Page 11




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             case of the investigator has a specific need for a certain portion of the
             products of conception, and we bake that into our contract and our
             protocol, that we follow this. So we deviate from our standard in order
             to do that. So, you know, we can do it in a way that we're still verifying
             that everything is there for the safety of the patient, but then we still
             maintain the integrity of that sample. So yeah, that’s definitely
             something we can do. But as far as this is our standard process, I’m
             telling you this so then we can get creative about when and where and
             under what conditions can we interject something that is specific to the
             tissue procurement needs. 17

             That is not the only time Farrell indicates Planned Parenthood’s willingness

    to change the procedure or standard of care in order to provide research specimens,

    and Farrell also makes multiple assurances that the doctors are willing and able to

    do it. Farrell stated:

             Yeah, I think we can [obtain intact 18-22 week neural specimens]. I
             mean some of it is really outside—some of it will be happenstance.
             Because, you know, sometimes as the procedure is happening, the
             procedure itself for the removal is generally standardized, and so just
             depending on the patient’s anatomy, how many weeks, other—where it’s
             placed in the uterus. We’re going to be potentially be able to have some
             that will be more or less intact and then some that will not be. So and
             we—but it’s something we can look at exploring how we can make that
             happen so we have a higher chance. It will probably also require a little
             bit of input from the doctors. Because the doctors are the ones acting,
             directly doing that, and you know, when it matters, you know in the case
             of the when it matters and the physicians also need an intact specimen,
             they can make it happen. 18

             Acknowledging that they cannot put the patients at increased risk, she states

    that doctors are still willing to change the procedure to ensure the best specimens

    and have done it that way before for their own research, so she is confident they will

    do so:


    17 Id.


    18 Id.


                                                                                     Page 12




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             Obviously the change in procedure will have to be where it’s not going
             to put the patient at more risk, prolong the procedure putting her at
             more risk, and altering the procedure where we leave content in the
             patient, which obviously we’re trying to get, we want everything, yeah.
             It’s you know—and that’s something we’ll have to discuss, you know,
             with the docs and see how they can do it. Because some of our doctors
             in the past have projects, and they’re collecting the specimens so they do
             it in a way that they get the best specimen. So I know it can happen. 19

             Farrell further states on the video that “we get what we need to do—to alter

    the standard of care—where we are still maintaining patient safety, still maintaining

    efficiency in clinic operations, but we integrate research into it.” 20

             These statements demonstrate a willingness to deviate from medical and

    ethical standards based upon a research motivation. 21 Texas has the right to hold

    Medicaid providers to minimum medical and ethical standards, and a stated

    willingness to deviate from the standard provides a sound basis for termination under

    state law.

        b. Failing to obtain informed consent by patients undergoing abortion
           procedures and donating fetal tissue violates medical and ethical
           standards.

             Evidence of another significant violation of medical and ethical standards by

    Planned Parenthood in the context of fetal tissue research came to light when the

    House Select Investigative Panel released its full report on December 30, 2016. The

    evidence attached to the report includes a copy of PPFA’s policy on fetal tissue

    research and their required consent form. 22                As both witnesses from Planned


    19 Id.
    20 Id.
    21 At the upcoming hearing, Defendants’ experts will testify in detail as to ethical concerns and the

    standard of care in relation to the statements made in the video on this subject.
    22 DX-68; DX-64; DX-65.


                                                                                               Page 13




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    Parenthood before the House Committee agree, 23 this form is not sufficient to obtain

    informed consent.

             First, related to Section I(A)(2)(a) above, even if it were acceptable within the

    standard of care and the law for Planned Parenthood physicians to alter or modify an

    abortion procedure to obtain a better fetal tissue specimen for researchers, it would

    still be a violation of medical and ethical standards for them to do so because the

    required consent form unequivocally states, “I understand there will be no changes

    to how or when my abortion is done in order to get my blood or the tissue.” 24 Thus,

    any modification to the procedure for research purposes, regardless of whether it

    increases risk for the patient, would breach the medical and ethical standards

    because there would be a lack of fully informed consent for the procedure.

             It should also be noted that PPFA’s policy contains a much broader statement

    than the consent form on the subject of alterations to the procedure. In contrast to

    the consent form it references, PPFA’s policy states that “no substantive alteration in

    the timing of terminating the pregnancy or of the method used was made for the

    purpose of obtaining the blood and/or tissue.” 25 Thus, on their faces, PPFA’s

    documents related to fetal tissue research allow the doctor to make changes to the

    procedure so long as he or she believes they are not “substantive,” but tells the patient

    that no changes whatsoever will be made. This discrepancy violates medical and




    23 DX-68; DX-66; DX-67.
    24 Id.
    25 DX-64 (emphasis added).


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    ethical standards—Planned Parenthood cannot tell their patients one thing and then

    do something else when their patients are under anesthesia.

            Finally, Planned Parenthood’s required consent form contains a misleading

    statement, which further violates medical and ethical standards. The form states at

    the top, “Research using the blood from pregnant women and tissue that has been

    aborted has been used to treat and find a cure for such diseases as diabetes,

    Parkinson’s disease, Alzheimer’s disease, cancer, and AIDS.” 26                        As Planned

    Parenthood’s first witness in the House proceedings pointed out, “To my knowledge

    there is no cure for AIDS. So that is probably an inaccurate statement . . . I told you

    I am not an ethicist, but a consent form should not have an incorrect statement.” 27

            A consent form for tissue donation which promises treatments and cures for

    notable diseases using that tissue violates medical and ethical standards because it

    has the danger of inducing someone to donate based on a false pretense. Additionally,

    making inaccurate claims in a consent form results in the patient not being fully

    informed of the risks and benefits of the procedure. It is a breach of medical and

    ethical standards for a physician to perform a procedure without obtaining informed

    consent, and Planned Parenthood’s standard forms are inadequate for that purpose. 28




    26 DX-65.
    27 Id. at Ex. 8.37.
    28 At the upcoming hearing, Defendants’ experts will testify in greater detail regarding medical ethics

    and the standard of care in relation to informed consent procedures.

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          2.     Planned Parenthood’s misrepresentations and misleading
                 statements are consistent with and support termination.

          Ethical behavior and truthfulness are also defined by state law to relate to a

    provider’s qualifications. In more than one regulation, state law allows for the

    termination of providers who are dishonest in their dealings with the state. 1 Tex.

    Admin. Code § 371.1651(15) (provider subject to administrative action if the provider

    makes a false statement, misrepresentation or omission of a pertinent fact on, or fails

    to fully or correctly complete or execute a provider enrollment application, agreement,

    or any doc requested as a prerequisite for Medicaid); id. § 371.1655(7) and (24)

    (provider may be terminated for failure to establish effective compliance program for

    detecting criminal/civil/administrative violations that promotes quality of care;

    provider may be terminated for failure to prevent, obstruct, impede, or attempts to

    prevent a state agency from conducting necessary duties).

          Here, there is evidence that Planned Parenthood made a false statement to

    law enforcement officials, which further calls into question Planned Parenthood’s

    qualifications. There is also evidence that Planned Parenthood has attempted to

    mislead other governmental entities. This willingness to manipulate the truth and

    omit pertinent facts is consistent with and further supports termination.

               a. Engaging in conduct that may be criminal justifies termination
                  of the Medicaid provider’s agreement.

          Where a provider engages in activity that constitutes a crime, regardless of

    whether there is a conviction, state law allows for termination on that basis. 1 Tex.

    Admin. Code § 371.1661(8) states that a provider “is subject to administrative actions


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    or sanctions if the person is convicted of or engages in an act that constitutes under

    state or federal law a criminal offense related to the interference with or obstruction

    of any audit or investigation into an alleged criminal offense.” 1 Tex. Penal Code

    §37.08(a) makes it a crime to “with intent to deceive . . . knowingly make[] a false

    statement that is material to a criminal investigation and make[] the statement to a

    peace officer or federal special investigator conducting the investigation; or any

    employee of a law enforcement agency that is authorized by the agency to conduct the

    investigation and the actor knows is conducting the investigation.”

             Between October 31, 2013 and October 13, 2015, Farrell corresponded with

    individuals at Baylor College of Medicine (“BCM”) regarding the procurement of fetal

    tissue specimens for a research study. 29 Drafts of a contract were exchanged and

    Farrell apparently assisted the researchers in the process of obtaining Institutional

    Review Board (“IRB”) 30 approval for the study, which they pursued in reliance on the

    agreement they had made with PPGC. 31 On November 17, 2014, Farrell received an

    email from Supriya Parikh (“Parikh”) with the subject line, “FW: Pediatrics Research

    Proposal- Dr Paust/Baylor College of Medicine- IRB Approval Obtained.” 32 Parikh

    states in the email, “I would like to thank you for your support through our IRB

    review process. We heard back from the IRB today and like we discussed, the study

    does not constitute human subjects research.” 33 Farrell responded the same day,



    29 DX-72-80(a).
    30 Institutional Review Board approval is required by federal law whenever there are research studies

    done with human subjects. See http://www.baylor.edu/research/irb/index.php?id=926196.
    31 DX-72-80(a).
    32 DX-79.
    33 Id.


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    stating, “Thank you!” 34 In June and early July 2015, the parties exchanged further

    emails about the contract. 35 A few days after Farrell’s last email about the IRB

    approval and contract, the first of the series of undercover videos relating to Planned

    Parenthood’s fetal tissue research activities was released on July 14, 2015. On

    October 15, 2015, Dr. Paust sent an email to Farrell asking if they needed to make

    changes to the contract in light of recent events, referring to the release of the

    videos. 36 On November 4, 2015, Farrell responded by denying that the parties were

    on the cusp of executing the contract. 37

             On October 22, 2015, Texas Ranger Daron Parker, Houston Police Department

    Homicide Division Sergeant Chris Hassig, and Assistant District Attorneys Anshu

    “Sunni” Mitchell, Inger Chandler, and Melissa Hervey, visited PPGC’s headquarters

    as part of an investigation. 38 PPGC’s general counsel Katie Beth Gottlieb and

    criminal attorney Josh Schaffer were also present. Gottlieb led the investigators on a

    tour of the facility and answered virtually all of their questions. In response to

    questions from investigators about their participation in fetal tissue research,

    Gottlieb stated:

             [T]he last collected fetal tissue specimen collected by GCPP [Gulf Coast
             Planned Parenthood] for a scientific study was on 07-26-2011, for the
             University of Texas Medical Branch [(“UTMB”)]. GCPP was recently
             approached by the Baylor College of Medicine and Rice University for
             fetal tissue studies. The Institutional Review Board had not yet given
             approval for the Baylor or Rice studies. 39


    34 Id.
    35 Id.
    36 DX-80(a).
    37 Id.
    38 DX-81.
    39 Id.


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             The statement that the IRB had not given approval for the BCM study was

    false. PPGC knew it had IRB approval. 40 Making matters worse, after the release of

    the videos, Farrell tried to deny she had even negotiated the contract to provide fetal

    tissue specimens.

             Notably, Planned Parenthood did not even respond to this basis for

    termination in their motion, describing it only as “unspecified ‘evidence’ of

    unidentified ‘misrepresentations’” and dismissing it as a “cryptic and vague

    allegation.” 41 Yet the Final Termination letter makes clear that the evidence of

    misrepresentations uncovered in the Select Investigative Panel investigation was

    “consistent with and supportive of th[e] termination.” 42 The Panel’s initial findings

    were made public the day after Planned Parenthood received the Final Notice of

    Termination, and well before Plaintiffs filed the instant motion. 43 The Panel’s initial

    findings go into detail about the above evidence—all of the emails between Farrell

    and BCM, the evidence that PPGC knew the study had IRB approval, the Ranger’s

    report containing the false statement about IRB approval—and concludes that this

    evidence indicates a possible violation of Texas law, citing the same penal code

    provision as above. 44 PPGC was also in possession of this letter, as indicated in

    paragraph 33 and Exhibit H of the declaration of PPGC CEO Melaney Linton.




    40 Id.
    41 Pls. Prelim. Inj. Mot. at 26, 18.
    42 DX-1 at 2.
    43 https://energycommerce.house.gov/sites/republicans.energycommerce.house.gov/files/documents

    /114/letters/20161221TX%20AG%20%28PPGC%29%20REDACTED.pdf
    44 DX-68.


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    Nothing about this is “cryptic”— apparently, Planned Parenthood simply had no

    response to it.

            b.     Planned Parenthood has made misrepresentations and
                   misleading statements about the issues germane to this action.

            Planned Parenthood has also made misrepresentations and misleading

    statements about the issues in this action, which are relevant to its qualifications. As

    an initial matter, PPGC has stated, in its brief and elsewhere, that it does not have

    the video relied upon by the OIG. 45 This statement is categorically false.

            Specifically, Josh Schaffer, PPGC’s criminal defense attorney, stated in a

    sworn affidavit that as soon as PPGC became the subject of a criminal investigation

    related to the videos, he “made it a priority to try to obtain the raw, unedited,

    complete video footage that [David] Daleiden had recorded at PPGC on April 9,

    2015.” 46 He further stated that former Assistant District Attorney Mitchell, the

    prosecutor charged with investigating PPGC, obtained the unedited footage directly

    from David Daleiden’s attorney and then promptly gave it to Schaffer on December

    18, 2015. 47 Schaffer then gave the video to Gottlieb, PPGC’s general counsel. 48 Thus,

    contrary to PPGC’s assertion, the unedited footage has evidently been in PPGC’s

    possession for over a year.




    45 See Pls. Prelim. Inj. Mot. at 26 (stating that the OIG’s “justification for termination is especially

    inadequate when this video – the supposedly unedited version of which the Attorney General has yet
    to provide to Plaintiffs – is the only ‘evidence’ of wrongdoing Defendants can come up with . . . .”).
    46 DX-106 at 34.
    47 Id. at 35-36.
    48 Id. at 36.


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           Additionally, Planned Parenthood’s claim that the videos in question are

    “fraudulent and deceptively edited” has been repeated ad nauseam. PPGC has

    continued to claim this even in the briefing to this Court, despite also insisting it has

    not seen the raw footage. What Planned Parenthood omits is that even the “full

    footage” versions of the videos posted on YouTube were verified through an

    independent, highly reputable, professional digital forensic group with clients like

    3M, Amazon, Intel, Lexis Nexis, Oracle, and Toshiba 49 to be authentic and not edited

    except for removing non-pertinent footage such as bathroom visits. This was

    determined by comparing them to the raw, unedited footage.

           This kind of misrepresentation has occurred in other contexts specifically

    related to Planned Parenthood’s activities in the area of fetal tissue research. For

    example, in the Gee litigation, Linton stated several times in a declaration and the

    attached exhibits that PPGC “does not currently participate in any fetal tissue

    donation programs,” and denied receiving remuneration in exchange for fetal tissue. 50

    The Fifth Circuit took this to mean that “PPGC does not perform any abortions or

    operate any fetal tissue donation programs.” Gee, 837 F.3d at 497-98. But it appears

    that during this time period, and even to this day, PPGC advertises on their website

    that they provide donated fetal tissue for clinical research. 51




    49 DX-3; see also https://www.coalfire.com/Solutions/Coalfire-Labs/Digital-Forensics;

    https://www.coalfire.com/About.
    50 Decl. of Melanie Linton, Planned Parenthood Gulf Coast, et al. v. Kliebert (M.D. La. Oct. 9, 2015)

    (No.3:15-cv-00565) (ECF No. 46-1) (“Linton Gee Decl.”) ¶21, Ex. H, Ex. F at 3, Ex. H at 2.
    51 DX-120-127.


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           Further, during the Senate Judiciary Committee’s investigation,                  Planned

    Parenthood stated through counsel that only four of its affiliates—all in California—

    had engaged in fetal tissue donation between 2010-2015 and received funds in

    exchange. 52 Yet PPGC engaged in fetal tissue donation between 2010-2011 during

    the UTMB study and received $21,000 in payments. 53

           Finally, Planned Parenthood has also attempted to mislead courts about their

    corporate structure. In the Gee litigation, the Fifth Circuit believed that “PPGC does

    not perform any abortions or operate any fetal tissue donation programs” 54 because

    Linton, again, made several misleading statements in a declaration and the attached

    exhibits—namely in copies of the letters that PPGC wrote in response to the

    Louisiana Department of Health and Hospitals’ inquiries. These statements created

    the impression that PPGC could not be guilty of any malfeasance related to fetal

    tissue research because it had no access to fetal tissue, and PPCFC could not be guilty

    of any malfeasance related to fetal tissue because it engaged in no donation programs.

    Both of these impressions are inaccurate.

           Linton claimed that PPCFC “does not have fetal tissue donation programs in

    Texas currently,” and PPGC “does not provide abortion services.” 55 In response,

    LDHH asked, “are you defining PPCFC as a fully standalone entity that is not an

    affiliate, subsidiary or associate of PPGC?” PPGC/PPCFC’s answer: “PPGC and




    52 https://www.grassley.senate.gov/sites/default/files/judiciary/upload/22920%20-%20FTR.pdf at Ex.
    11-12.
    53 DX-70.
    54 Gee, 837 F.3d at 497-98.
    55 Linton Gee Decl. Ex. F at 2.


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    PPCFC are both Texas non-profit corporations. Neither entity is a subsidiary of the

    other, and the entities have no members or owners in common. Other relationships

    between the entities are purely contractual in nature.” 56 As non-profit corporations,

    Planned Parenthood affiliates have no “owners,” and Planned Parenthood affiliates

    have no “members,” which begs the question of why Linton made that statement

    unless it was to create the impression that PPGC and PPCFC are more independent

    from one another than they are.

            In this case, Linton slightly modified her claim. In paragraph 5 of her

    declaration, she states, “PPGC does not provide abortions. PPGC has a facilities and

    services agreement with a separate organization, [PPCFC], which does. PPCFC rents

    space in a building owned by PPGC and operates the PPCFC Ambulatory Surgical

    Center. I am President and CEO of both organizations, but each has its own board of

    directors, bylaws, and staff.” 57

            The truth is that PPGC and PPCFC essentially operate as one entity. 58 The

    two organizations share the same address. 59 They share the same building. 60 As

    Linton now admits, she is President and CEO of both entities. 61 The board members

    and directors of PPCFC are the same as board members and directors of PPGC. 62




    56 Linton Gee Decl., Ex. F at 2.
    57 Linton Decl. ¶5.
    58 PPGT and PPST appear to operate in a similar fashion in conjunction with their abortion
    subsidiaries. See DX-142-149; DX-88; DX-91; DX-93; DX-164-166; DX-173; DX-177-178.
    59 DX-112-114; DX-130-132.
    60 DX-2.
    61 Linton Decl. ¶5.
    62 DX-112-114; DX-130-132.


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    PPGC and PPCFC share executive staff. 63 PPCFC and PPGC also state that they are

    related entities on their Internal Revenue Service Form 990s. 64

             In practice, there is also limited functional separation between PPCFC and

    PPGC’s operations. Even though PPCFC is purportedly the abortion provider, PPGC,

    not PPCFC, advertised for new employees to assist with abortions. 65 Abortions are

    performed inside PPCFC’s ambulatory surgical center (“ASC”), located inside PPGC’s

    building. 66 PPGC, not PPCFC, negotiates and enters into agreements with research

    entities to procure fetal tissue. 67 PPGC also receives the funds for that procurement. 68

    The PPGC website advertises that it, not PPCFC, provides donated fetal tissue for

    clinical research. 69 Farrell is an employee of PPGC, not PPCFC, yet she negotiates

    agreements to procure fetal tissue from abortions with outside parties. 70 For purposes

    of fetal tissue procurement, the two entities operate as one unit, and Planned

    Parenthood’s statements to the contrary are misleading.

             These efforts to obscure their activities related to fetal tissue procurement

    raise serious questions as to the qualifications of Planned Parenthood with respect to

    the Medicaid program, as they indicate unethical behavior that is consistent with and

    supportive of the termination.




    63 Id.
    64 DX-132 at Part IV, Line 34.
    65 DX-128-129.
    66 DX-2.
    67 DX-71; DX-78.
    68 DX-70-71.
    69 DX-120-127.
    70 DX-72-80(a).


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       c. Accepting money in exchange for fetal tissue not tied to reimbursing
          the actual costs of providing such tissue arguably violates the law and
          violates medical and ethical standards.

           42 U.S.C. § 289g-2(a) states that “[i]t shall be unlawful for any person to

    knowingly acquire, receive, or otherwise transfer any human fetal tissue for valuable

    consideration if the transfer affects interstate commerce.” “Valuable consideration”

    does not include “reasonable payments associated with the transportation,

    implantation, processing, preservation, quality control, or storage of human fetal

    tissue.” § 289g-2(e). Tex. Penal Code § 48.02(b) makes it a misdemeanor if someone

    “knowingly or intentionally offers to buy, offers to sell, acquires, receives, sells, or

    otherwise transfers any human organ for valuable consideration.” The statute defines

    “human organ” to include fetal tissue. Id. at § 48.02(c). The statute also defines

    “valuable consideration” to exclude “a fee paid to a physician or to other medical

    personnel for services rendered in the usual course of medical practice or a fee paid

    for hospital or other clinical services,” and “reimbursement of legal or medical

    expenses incurred for the benefit of the ultimate receiver of the organ.” Id. at

    §48.02(a).

           On the video, Farrell asserts that even though PPGC is “already set up” to do

    the tissue procurement, “we will definitely need to work out, you know, something in

    terms of covering additional costs for additional things related to it.” 71 She also

    explains how she uses the language of the contract to make seem that payments are

    going only to “administrative costs” rather than a compensation for specimens, which



    71 DX-2; DX-2(a).


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    she admits is “touchy” under federal law: “I'm very particular about working with

    the language of the budget and contract to where the language is specific to covering

    the administrative costs and not necessarily the per specimen. Because that borders

    on some language in the federal regs, it's a little touchy.” 72

             She also makes it clear that Planned Parenthood cares about the bottom line

    in terms of providing the donated tissue:

             Well, I know – that’s another thing that is –you know, a lot of folks – I
             get this mainly from academic institutions. They see Planned
             Parenthood, oh, they’re nonprofit, that means you’re nonbudget. And
             they will come to us with, you know, budgets that are, quite frankly,
             insulting. You know, like really? I mean where in the United States can
             you – a consent form, you know, eight-page consent form for this amount
             of money and it takes 30 minutes to administer that to a patient. So, you
             know, again with the understanding that, you know, just because we’re
             nonprofit does not mean we’re fiscally unstable. 73


             Farrell also states in the video that she goes to lengths to determine what their

    costs are so she can cover them in the contract, but in practice, Planned Parenthood

    Witness #2 (which is seems is likely Farrell, given the content of her testimony and

    her location at PPGC) admitted to Congress that her calculations were not tied to

    reimbursing actual costs but instead are “basically back-of-the-envelope type

    calculations.” 74 The invoices PPGC issued to UTMB reflect that as well. The “per

    consent” costs and “administrative fees” are perfectly round numbers—$50 per

    consent in advance, 75 $2,000 annual “administrative fee”, 76 $1,500 for CITI training



    72 Id.
    73 Id.
    74 DX-62.
    75 DX-60; DX-70.
    76 Id.


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    of new staff in both 2010 and 2011, 77 $25 per consent obtained in 2010, 78 $150

    “consent payment” in 2010-2011. 79 Only one entry on the invoices to UTMB appears

    to be a reimbursement of an actual cost: “reimbursement for study supplies” in the

    amount of $574.98. 80

             PPGC continued to obtain payment this way. During the negotiations with

    Baylor three years later in 2014, the price apparently settled on (as reflected in

    multiple drafts of the contract between the parties) was $5,750 for 25 consents, which

    comes out to $230 per consent. 81      This included $50 per consent for staff time,

    including consents for which no sample is obtained, plus a $2,000 administrative fee,

    which includes “Surgical Services and Research Management oversight, consent

    storage, and supply storage. 82 This list is not all inclusive.” 83 It also purportedly

    included $100 per consent for “sterile procedure room set-up and sample collection,”

    but this was also not an exclusive list of potential costs. 84

             The Senate Judiciary Committee examined this issue, and the Majority Staff

    Report details how PPFA admitted that its affiliates failed to obtain accounting to

    document their actual costs of procuring fetal tissue per PPFA’s policy. 85 According

    to the report, PPFA also admitted that its affiliates were engaging in fetal tissue




    77 Id.
    78 Id.
    79 Id.
    80 Id.
    81 DX-78.
    82 Id.
    83 Id.; DX-72-80.
    84 Id.
    85See https://www.judiciary.senate.gov/imo/media/doc/2016-12-13%20MAJORITY%20REPORT%20-

    %20Human%20Fetal%20Tissue%20Research%20-%20Context%20and%20Controversy.pdf

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    research programs in order “to increase their revenues.” 86 When asked to provide an

    accounting, PPFA’s affiliates attempted to belatedly justify their costs by

    “shoehorn[ing] a vast array of indirect or tenuously related costs into § 289g-2’s

    exception, including attributing several thousands of dollars in costs to amorphous

    “General Administrative & Medical Overhead.” 87

             The Majority Staff Report went on to state:

             As noted above, interpreting § 289g-2’s exception this broadly would
             clearly be at odds with the primary purpose of the law, which is apparent
             from the legislative history. Any company could simply shift unrelated
             costs into such categories to hide actual profits obtained from the
             transactions—the very scenario Senator Smith described when trying to
             resolve the issue in 1999. Accordingly, there is reason to question
             whether Planned Parenthood fully complied with federal requirements
             relating to fetal tissue transfer payments. As noted above, when PPFA
             learned that its affiliates had failed to comply with the policies it had in
             place to prevent breaking the law, PPFA reportedly contacted the
             affiliates and then modified PPFA accreditation reviews in a manner
             that facilitated the continuation of those fetal tissue payments. PPFA’s
             and the affiliates’ actions may implicate the federal criminal conspiracy
             statute, 18 U.S.C. § 371. 88

             From the documentation we have without discovery, it does not appear that

    Planned Parenthood is making extraordinarily large sums of money by selling fetal

    tissue. But it does appear that they have been accepting payments not tied to the

    reimbursement of actual costs, which indicates a likelihood of “valuable

    consideration” being received.        Given the grave moral concerns related to the

    existence of any financial incentive to procure fetal tissue, which prompted Congress




    86 Id. at 49.
    87 Id. at 52.
    88 Id. at 52-53.


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    to pass §289g-2 in the first place, 89 accepting remuneration not tied to reimbursement

    is unethical and breaches the standard of care, which does not contemplate a market

    of any sort for human body parts. 90 The evidence illustrating Planned Parenthood’s

    practice of exchanging fetal tissue for money not tied to actual costs therefore

    provides an additional basis for termination of their Medicaid provider agreements.

               3.    Texas’s termination of Planned Parenthood’s Medicaid provider
                     agreements is in full accordance with Fifth Circuit precedent,
                     and cases coming to different conclusions in other jurisdictions
                     are distinguishable.

               Planned Parenthood makes much of the fact that other courts have granted

    injunctions against the termination of their Medicaid contracts in other states. But

    not only does the termination of their contracts in Texas fully comport with the Fifth

    Circuit’s opinion in Gee, the legal and factual bases for termination are greater than

    those in those other states, rendering other courts’ conclusions about the likelihood

    of success on the merits at a preliminary stage of the case far from dispositive.

               In Gee, PPGC (who had two non-abortion clinics in Louisiana at the time)

    challenged Louisiana’s at-will termination of their provider agreements. 837 F.3d at

    484. After the case was filed, Louisiana revoked their notice of termination and

    argued the case was moot. Id. The next day, the state issued a new notice of

    termination on three grounds: two qui tam False Claims Act claims against PPGC,

    “misrepresentations” in PPGC’s correspondence with LDHH, and an investigation of




    89 See Id. at 8-28.
    90 At the upcoming hearing, Defendants’ expert witnesses will testify in greater detail regarding this

    subject.

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    PPGC by LDHH and the Louisiana OIG. 91 Id. The Fifth Circuit concluded that while

    states have the authority to create regulations regarding the qualifications of

    Medicaid providers and may terminate providers consistent with federal and state

    law, they simply do not “have an unlimited authority to exclude providers for any

    reason whatsoever.” Id. at 494.

           The Gee panel was convinced that the individual plaintiffs had shown a

    likelihood of success on the merits because, according to the Court, the state failed to

    include any explanation of the alleged “misrepresentations” in either their

    termination letter or its briefing, and it found that the mere initiation of an

    investigation and settlement of the FCA cases without admission of liability were not

    evidence of any wrongdoing which would call into question PPGC’s qualifications as

    a provider. Id. at 496-98. The court concluded that “[a]t the most, LDHH has simply

    pasted the labels of ‘fraud’ and ‘misrepresentations’ on PPGC’s conduct, and then

    insisted that these labels should insulate its termination actions from any

    § 1396a(a)23 challenges.” Id. at 499. Given the lack of evidence put forward by the

    state, the court concluded the termination was not based on PPGC’s qualifications as

    a provider, 92 and it therefore held that termination of Planned Parenthood’s Medicaid

    provider agreements for reasons unrelated to their qualifications likely violated the

    free-choice-of-provider provision of § 1396a(a)(23). Id. at 498-99.



    91 Of note: LDHH stated that the PPGC video was not a basis for their decision to terminate. Transcript

    of Mot. Hr’g at 35 - 36, Planned Parenthood Gulf Coast, Inc. v. Kliebert, 141 F.Supp.3d 604 (2015) (No.
    59-00565) ECF No. 59.

    92 Significantly, LDHH conceded that PPGC was competent to render the relevant medical services.

    Gee, 837 F.3d at 492. OIG makes no such concession in this case.

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          By contrast, in this case, as detailed above, OIG has put forth specific evidence

    substantiating the termination under state law, for reasons bearing directly on

    Planned Parenthood’s qualifications as a Medicaid provider as defined by Gee and

    state law. Gee expressly allowed for a different outcome where the termination is

    based on provider qualifications. In a section of the opinion titled, “Limits of Our

    Opinion,” the panel “emphasize[d] the unique circumstances of the instant case,” and

    affirmed that “[s]tates undoubtedly must be able to terminate provider agreements

    in cases of criminal activity, fraud and abuse, and other instances of malfeasance.”

    Id. at 498-99. It also stated, “the general grounds for termination invoked by LDHH—

    fraud, misrepresentations, and investigations—will often relate to a provider’s

    qualifications.” Id. at 499. Because OIG has given specific grounds for termination

    supported by evidence relating directly to Planned Parenthood’s qualifications to

    provide medical services in a “professionally competent, safe, legal, and ethical

    manner,” the termination is wholly consistent with Gee.

          Cases involving Planned Parenthood’s termination in other jurisdictions are

    distinguishable for similar reasons. At the outset, none of the other states have based

    their termination decision on video evidence filmed in their state—Texas is unique in

    that respect. In Planned Parenthood Southeast, Inc., v. Bentley, the Governor of

    Alabama decided to terminate the provider agreement of Planned Parenthood’s

    Alabama affiliate after he watched one of the videos released by CMP. 141 F. Supp.

    3d 1207, 1213 (M.D. Ala. 2015). In Bentley, the “narrow question before the court

    [wa]s whether the Medicaid Act allows a State to terminate a provider agreement



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    based on no reason other than the existence of a contractual at-will termination

    provision like the one in P[lanned Parenthood Southeast’s].” Id. at 1220. The court

    concluded that “[t]he answer to that narrow question is ‘no.’” Id. But as Defendants

    have already discussed at length, the termination in this case was for cause.

           In Planned Parenthood of Kansas v. Mosier, the decision to terminate was

    based in part on the videos, but they were not offered into evidence. No. 2:16-cv-

    02284, 2016 WL 3597457, *4 (D. Kan. Jul. 5, 2016). As none of the activities depicted

    took place within Kansas, the court determined that the state would have to justify

    termination based solely on affiliation. Id. at *18-19. It appears that Kansas law,

    unlike the law in Texas, did not permit termination based on affiliation. Id. at *21 n.

    121.

           Similarly, in Planned Parenthood Arkansas and Eastern Oklahoma v. Selig,

    the court entered a preliminary injunction on the basis that the Planned Parenthood

    affiliates in that case did not perform surgical abortions and therefore could not be

    involved in fetal tissue donation, and affiliation alone did not suffice. Prelim. Inj.

    Order on Behalf of Patient Class, No. 4:15-cv-00566, ECF No. 127 (E.D. Ark. Sept.

    29, 2016). But it does not appear that there was a state law basis for termination

    based on affiliation. See id. at 14-16.

           The video at issue in this case was filmed at a Texas Planned Parenthood

    facility. All of the Texas Planned Parenthood affiliates perform surgical abortions, so

    the issue of fetal tissue donation is pertinent to all of them. 93 In addition, Texas law



    93 DX-144, DX-176.


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    permits termination of a Medicaid provider based on affiliation, as explained in

    Section I(B) infra. The grounds for termination of the providers here are directly

    related to their qualifications as providers. Thus, the above cases are unpersuasive.

        B. The Law Permits OIG to Terminate Affiliates of Unqualified Medicaid
           Providers.

            Based on the above, there is clearly enough evidence to support termination of

    PPGC and PPCFC. But there is also an adequate basis under federal and state law

    for terminating the rest of the Planned Parenthood affiliates in Texas. 42 C.F.R.

    § 1001.1001(a)(1)(i)(C) provides that the OIG “may exclude an entity if . . . [a] person

    with a relationship with such entity . . . [h]as been excluded from participation in

    Medicare or any of the State health care programs.”

            Plaintiffs appear to assert that because federal law does not interpret

    affiliation as broadly as state law, that the affiliates’ termination under state law is

    somehow improper. To the extent they are attempting to make a preemption

    argument, it must fail because (1) Plaintiffs have not made a preemption claim, nor

    challenged the state law provisions at issue; and (2) Medicaid’s statutory and

    regulatory scheme contemplates cooperative administration of the program, with

    authority to terminate provider agreements on both sides of the equation, leaving

    room for states to act even where the federal government does not. 94

            Moreover, there can be nothing improper about the termination of all the Texas

    affiliates in this case where HHS has expressly interpreted the Medicaid statutes to




    94 See Part I(A) supra.


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    allow for the termination of entire corporate entities, not just the offending individual

    or entity. Plaintiffs cite HHS guidance to support their narrow interpretation of 42

    C.F.R. §1001.1001 as merely an attempt to prevent an excluded provider from

    continuing to receive funds from a corporate entity they own or have substantial

    interest in, and that corporate entities on a whole cannot be excluded for other

    reasons. “Health Care Programs: Fraud and Abuse; Amendments to OIG Exclusion

    and CMP Authorities Resulting from Public Law 100-93,” 57 Fed. Reg. 3298-01, 3309

    (Jan. 29, 1992). But the same document supports the idea that entire corporate

    entities may be terminated:

          The statute contemplates excluding an entity that has a substantial
          relationship with a sanctioned individual. While it may often be possible
          to target only one offending subsidiary or site for exclusion, we believe
          that there are situations where an entire corporate entity may be found
          to have a substantial relationship with one individual who deals
          primarily with one of its subsidiaries. In deciding whether to exclude
          an entire corporate network or one isolated subsidiary, we intend to
          evaluate the nature and extent of the relationship and determine what
          parties were actually at fault for engaging in a relationship with a
          sanctioned individual, as well as which entities the sanctioned
          individual actually controls. The OIG will always consider whether the
          interests of the programs and their beneficiaries are furthered by
          excluding an entire corporate network.

          Id. (emphasis added).

          The same document also refutes the idea that the Medicaid statutes limit the

    States’ authority to exclude entities from Medicaid for reasons pursuant to state law,

    or that an existing basis for termination or sanction in the federal statutes or

    regulations prevent a state from imposing stricter requirements:

          This comment appears to refer to § 1002.2(b), which simply states that
          nothing in the regulations limit a State’s own authority to exclude an

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          individual or entity from Medicaid for any reason or period authorized
          by State law. State agencies may prosecute and sanction providers on
          their own initiative when State law authorizes them to do so. Nothing
          in section 1128(d) of the Act or its legislative history indicates that the
          Federal statutory provisions governing the length of exclusions were
          intended to supplant State law provisions governing exclusions from
          State health care programs. In fact, section 1128(d)(3)(B)(ii) provides
          that ‘a State health care program may provide for a period of exclusion
          which is longer than the period of exclusion under title XVIII
          (Medicare).”

    Id. at 3322. Given the cooperative federalism model of Medicaid, the evidence of

    complementary authority in the statutes themselves, as well as agency

    interpretations consistent with those ideas, Plaintiffs’ attempt to limit OIG in acting

    pursuant to state law in administering the Texas Medicaid program must fail.



       1. Texas law allows for the termination of affiliates of unqualified
          providers.

          The evidence available at this time, as well as the evidence that will be

    presented at the hearing, justifies the termination of the provider agreements for all

    Texas affiliates. There is evidence of wrongdoing by PPGC and PPCFC. There is also

    evidence of a substantial relationship between PPGC/PPCFC and other the Texas

    affiliates by virtue of their affiliation with PPFA. As a result, termination of all Texas

    affiliates is supported by state law.

          1 Tex. Admin Code. § 371.1703(c)(7) provides that “[W]hen the OIG establishes

    the following by prima facie evidence, the OIG may terminate or cancel the

    enrollment or contract from Medicaid, CHIP, or any other HHS program of . . . a




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    person that is affiliated with a person who commits a program violation.” An

    “affiliate” is someone who:

          (A) has a direct or indirect ownership interest (or any combination
          thereof) of five percent or more in the person;
          (B) is the owner of a whole or part interest in any mortgage, deed of
          trust, note or other obligation secured (in whole or in part) by the entity
          whose interest is equal to or exceeds five percent of the value of the
          property or assets of the person;
          (C) is an officer or director of the person, if the person is a corporation;
          (D) is a partner of the person, if the person is organized as a partnership;
          (E) is an agent or consultant of the person;
          (F) is a consultant of the person and can control or be controlled by the
          person or a third party can control both the person and the consultant;
          (G) is a managing employee of the person, that is, a person (including a
          general manager, business manager, administrator or director) who
          exercises operational or managerial control over a person or part
          thereof, or directly or indirectly conducts the day-to-day operations of
          the person or part thereof;
          (H) has financial, managerial, or administrative influence over the
          operational decisions of a person;
          (I) shares any identifying information with another person, including tax
          identification numbers, social security numbers, bank accounts,
          telephone numbers, business addresses, national provider numbers,
          Texas provider numbers, and corporate or franchise names; or
          (J) has a former relationship with another person as described in
          subparagraphs (A)-(I) of this definition, but is no longer described,
          because of a transfer of ownership or control interest to an immediate
          family member or a member of the person's household of this section
          within the previous five years if the transfer occurred after the affiliate
          received notice of an audit, review, investigation, or potential adverse
          action, sanction, board order, or other civil, criminal, or administrative
          liability.

    1 Tex. Admin. Code § 371.1(3) (emphasis added).

          The fact that the Texas affiliates are all being represented in this lawsuit by

    the same legal counsel, and particularly by a lawyer from PPFA, should be the Court’s

    first indication that they share a sufficiently close relationship. But there is also




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    documentary evidence that shows that PPFA is sufficiently connected to the affiliates

    as to justify the termination of all the entities.

           PPFA has characteristics of a franchise operation, with affiliates paying

    annual dues. In exchange for these payments, affiliates can hold themselves out to

    the public by using the franchise name “Planned Parenthood.” 95 This connection is

    sufficient under state law to link all the entities in this action. See id. § 371.1(I)

    (defining an affiliate as someone who “shares any identifying information with

    another person, including . . . corporate or franchise names ”).

           Furthermore, PPFA exercises functional control over the affiliate entities. For

    example, affiliates are “bound by PPFA’s standards of affiliation and bylaws.” 96

    These standards give PPFA control over, among other things, how affiliates generate

    revenue, engage in research, and structure their clinical programs. 97 In fact, since

    2013, PPFA has required that all affiliates provide abortions regardless if the

    affiliates wanted to or not. This top-down control exercised by PPFA over its affiliates

    provides a sufficient basis for the OIG to terminate the provider agreement of not just

    PPGC/PPCFC, but each of the affiliates. See id. § 371.1(F) (defining an affiliate as

    someone who “can control or be controlled by the person or a third party can control

    both the person and the consultant”); Id. at § 371.1(H) (defining an affiliate as

    someone who “has financial, managerial, or administrative influence over the

    operational decisions of a person”).



    95 See e.g. DX-115; DX-119; DX-148; DX-85 at 4.
    96 DX-159 at ¶ 8.
    97 DX-85 at 4 and 12.


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     II.     Plaintiffs Have Failed        to   Show     Irreparable     Harm        Absent    a
             Preliminary Injunction.

             To satisfy the requirement of showing irreparable harm absent an injunction,

    Plaintiffs must assert “more than an unfounded fear.” 11A Charles Alan Wright &

    Arthur R. Miller, Federal Practice and Procedure § 2948.1 (3d ed.) Courts will not

    issue a preliminary injunction “simply to prevent the possibility of some remote

    future injury.” Id. Instead, the plaintiff must show a “presently existing actual

    threat.” Id.; see also Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008) (“We

    agree . . . that the Ninth Circuit's ‘possibility’ standard is too lenient. Our frequently

    reiterated standard requires plaintiffs seeking preliminary relief to demonstrate that

    irreparable injury is likely in the absence of an injunction.”) (internal citations

    omitted). Planned Parenthood and the Jane Doe plaintiffs cannot make such a

    showing and therefore are not entitled to an injunction.

           A. Medicaid Funds Represent a Small Percentage                       of    Planned
              Parenthood’s Overall Multi-Million Dollar Budget.
             Planned Parenthood claims that it will suffer irreparable harm because it

    “rel[ies] on public funding, and loss of Medicaid funds will significantly impact [the]

    operating budgets.” 98 This assertion, like so many others made by Planned

    Parenthood, is misleading. Specifically, the fear of a significant impact on the budget

    is unfounded because the amount paid by Medicaid is de minimis in view of the total

    30 billion dollar Medicaid expenditure. 99 For instance, in 2013, PPGC reported



    98 Pls. Prelim. Inj. Mot. at 31.
    99 See expected testimony of Lesley French, Associate Commissioner, Health, Development and
    Independent Services at Texas Health and Human Services Commission.
     (HHSC).

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    $19,667,024 in total revenue. 100 PPGC also reported net assets of $43,548,729. 101 In

    contrast, PPGC’s annual report for 2012-2013 attributed only $1,017,712 or 4% to

    “Government Contracts for Medical Services”, which includes Medicaid. 102 Clearly,

    the Provider plaintiffs are economically viable. 103 It appears unlikely that the loss of

    Medicaid would cause much harm, if any at all, to their ability to operate.

              Moreover, contrary to Plaintiffs’ alarmist claims that terminating Planned

    Parenthood’s Medicaid provider agreements will precipitate a women’s health crisis

    in Texas, women’s health in Texas is generously provided for by several state-funded

    programs: the Texas Women’s Health Program, Family Planning Program, and

    Expanded Primary Heath Care Program. As the state’s witnesses will testify, these

    three programs provide family planning services to low-income women including

    pelvic examinations, sexually transmitted disease screening and treatment, HIV

    screening,     health screenings for diabetes, high blood pressure, and cholesterol,

    breast and cervical cancer screenings, and contraceptives. Moreover, as the state’s

    witnesses will testify, these three programs are available to more women than those

    eligible for services through Medicaid because the Texas programs are available to

    low-income women whose income is higher than the federal poverty level, which is

    the cut-off for the program administered through Medicaid. Hence, the Court should




    100 DX-113 at 1.
    101 Id.
    102 DX-111 at 4.
    103 DX-165 (reporting total revenue of $33,922,566 and net assets of $41,839,154 for PPGT); DX-142

    (reporting total revenue of $4,252,525 and net assets of $3,749,103 for PPST).

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    deny the requested relief because the Plaintiffs have failed to show a presently

    existing threat that services will cease absent the injunction.

    III.   The Public Interest is Served Through Denial of the Injunction
           Because it Protects Patients from Providers With a History of
           Violating Medical and Ethical Standards.

           To obtain a preliminary injunction, the movant also has the burden to show

    that if granted, the injunction would not be adverse to public interest. Star Satellite,

    Inc. v. Biloxi, 779 F.2d 1074, 1079 (5th Cir.1986). If no public interest supports

    granting preliminary relief, such relief should ordinarily be denied, “even if the public

    interest would not be harmed by one.” Wright & Miller § 2948.4. “Consequently, an

    evaluation of the public interest should be given considerable weight in determining

    whether a motion for a preliminary injunction should be granted.” Id.

           It is clearly in the public interest to allow OIG to terminate an unqualified

    provider that has shown a repeated willingness to engage in behavior that violates

    medical and ethical standards. The state should not have to wait until it is too late

    before it can act to protect Medicaid recipients and taxpayers. Medical providers hold

    a special position of trust in our society and therefore must adhere to the highest

    standards of accountability. A medical provider that is willing to transgress medical

    and ethical standards should not receive the benefit of state or federal monies, and

    denying the request for an injunction will allow the state to protect the integrity of

    the Medicaid program, which is in the public’s interest. As discussed above, Planned

    Parenthood provides such a small percentage of overall Medicaid services in the state,

    and other state programs provide virtually identical services for the same patient


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    population, so terminating Planned Parenthood as a provider will not cause harm to

    the public. The injunction should be denied.

    IV.   Even if the Court were Inclined to Issue an Injunction, a Bond Must
          Be Required.

          Federal Rule of Civil Procedure Rule 65(c) states that a preliminary injunction

    may issue “only if the movant gives security in an amount that the court considers

    proper to pay the costs and damages sustained by any party found to have been

    wrongfully enjoined or restrained.” Fed. R. Civ. P. 65(c). The analysis turns on the

    damages, if any, that the state would sustain during the period that a wrongfully

    issued preliminary injunction remained in effect. Wright & Miller § 2954.

          If OIG were enjoined in this case, the state would have to continue reimbursing

    Planned Parenthood. Planned Parenthood argues that these reimbursements would

    have no effect on the state budget because another Medicaid provider would take its

    place. This ignores, however, Texas’s sovereign interest in ensuring that Medicaid

    providers comply with the requirements in the Texas Administrative Code, the Texas

    Medicaid Provider Procedures Manual, and other state and federal laws governing or

    regulating Medicaid. Wrongfully compelling the state to fund Planned Parenthood,

    in violation of the state’s legitimate authority over the administration of the Medicaid

    program within its borders, therefore harms Texas even if it reimburses another

    organization that complies with federal and state law. Accordingly, Planned

    Parenthood should be required to post a bond equivalent to the amount that Texas

    reimburses Planned Parenthood over a one-year period, which amounts to ten percent

    of the proceeds that Planned Parenthood receives under the Medicaid program. 42

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    U.S.C. § 1396b(a)(5). Planned Parenthood received approximately 3.5 million dollars

    from Texas Medicaid in 2016. Thus, an appropriate bond amount is approximately

    $350,000.

                                      CONCLUSION

          Because Plaintiffs cannot satisfy their burden of meeting all four prerequisites

    for a preliminary injunction, Plaintiffs’ motion for preliminary injunction should be

    denied.


                                           Respectfully submitted.

                                           KEN PAXTON
                                           Attorney General of Texas

                                           JEFFREY C. MATEER
                                           First Assistant Attorney General

                                           BRANTLEY D. STARR
                                           Deputy First Assistant Attorney General

                                           JAMES E. DAVIS
                                           Deputy Attorney General for Civil Litigation

                                           ANGELA V. COLMENERO
                                           Chief, General Litigation Division

                                           /s/ Andrew B. Stephens
                                           ANDREW B. STEPHENS
                                           Texas Bar No. 24079396
                                           AMANDA J. COCHRAN-MCCALL
                                           Texas Bar No. 24069526
                                           ADAM A. BIGGS
                                           Texas Bar No. 24077727
                                           Assistant Attorneys General

                                           Office of the Attorney General
                                           300 West 15th Street
                                           P.O. Box 12548
                                           Austin, Texas 78711-2548
                                           (512) 463-2120 (phone)

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                                    (512) 320-0667 (fax)

                                    Attorneys for Defendants




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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

   PLANNED PARENTHOOD OF         §
   GREATER TEXAS FAMILY PLANNING §
   AND PREVENTATIVE HEALTH       §
   SERVICES, INC., et al.,       §
                                 §
        Plaintiffs,              §
                                 § Civil Action No.1:15-cv-01058-SS
   v.                            §
                                 §
   CHARLES SMITH, et al.,        §
                                 §
        Defendants.              §




     DEFENDANTS’ OPPOSED MOTION TO CLARIFY THE PRELIMINARY
    INJUNCTION ORDER AND JUDGMENT UNDER RULE 60(a), OR AMEND
                  UNDER RULE 52(b) OR RULE 59(e)



         Defendants hereby request that the Court clarify its January 21, 2017 Order

   granting Plaintiffs’ motion for preliminary injunction and the subsequently issued

   Order of Judgment (collectively, “Orders”) as to the scope of the injunctive relief

   granted. Defendants respectfully disagree with the Court’s conclusion that the entry

   of a preliminary injunction was warranted in this case, but that conclusion is not at

   issue in this motion. Rather, Defendants only seek clarification as to the scope of the

   injunctive relief granted to the Plaintiffs, and request that the Court correct its

   Orders to reflect what Defendants believe is the intended—and proper—scope of the

   injunction.

         As currently written, the Orders enjoin Defendants from “terminating the

   Provider Plaintiffs’ Medicaid Provider Agreements.” On its face, this would seem to

   prohibit Defendants from terminating the Provider Plaintiffs’ agreements for any

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   reason whatsoever, which prevents Defendants from fulfilling their responsibilities

   under federal and state law regarding the administration of the Texas Medicaid

   program. Specifically, there are provider agreements associated with Planned

   Parenthood that must be terminated under federal statutes because the providers

   failed to re-enroll. Apparently, these provider agreements are associated with

   Provider Plaintiff affiliates which no longer exist. But due to the broad language of

   the injunction, however, the Defendants are unsure whether they may terminate the

   agreements and request that the Court clarify the injunction to address this

   ambiguity.

          Moreover, Defendants believe that based on the Orders as a whole, the Court

   intended the injunction to apply to the bases for termination at issue in the case.

   Defendants request that the Court amend its Orders to clarify this and provide more

   “explicit notice of the precise conduct that is outlawed,” as is required by Fed. R. Civ.

   P. 65(d). Ala. Nursing Home Ass’n v. Harris, 617 F.2d 385, 387-88 (5th Cir. 1980).

   I.    The Court Should Clarify the Order and Judgment Under Fed. R. Civ.
         P. 60(a) to Limit the Terms of the Injunction to The Bases of
         Termination at Issue in the Case.
         Rule 60(a) allows a district court to “correct a clerical mistake or a mistake

   arising from oversight or omission whenever one is found in a judgment.” The Fifth

   Circuit has looked to three criteria to determine whether a mistake can be corrected

   under Rule 60(a): “(1) the nature of the mistake; (2) the district court’s intent in

   entering the original judgment; and (3) the effect of the correction on the parties’

   substantial rights.” Rivera v. PNS Stores, Inc., 647 F.3d 188, 193 (5th Cir. 2011).

   There is “substantial overlap between these three criteria.” Id. Each is but “a slightly

   different way of expressing the core idea that resort to Rule 60(a) may be had when

   ‘the judgment simply has not accurately reflected the way in which the rights and

   obligations of the parties have in fact been adjudicated.’” Id. (quoting Bernstein v.


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   Lefrak (In re Frigitemp Corp.), 781 F.2d 324, 327 (2d Cir. 1986)). Rule 60(a) “finds

   application where the record makes apparent that the court intended one thing but

   by merely clerical mistake or oversight did another.” Id. (quoting Dura-Wood

   Treating Co., Div. of Roy O. Martin Lumber Co. v. Century Forest Industries, Inc., 694

   F.2d 112, 114 (5th Cir. 1982)).

         A.     Injunctive relief must be specific as to what actions are being
                enjoined and must go no further in burdening the Defendants as
                is necessary to address the Plaintiffs’ harm.
          Federal Rule of Civil Procedure 65(d)(1) requires that an order granting an

   injunction must “(A) state the reasons why it issued; (B) state its terms specifically;

   and (C) describe in reasonable detail—and not by referring to the complaint or other

   document—the act or acts restrained or required.” “The Supreme Court has

   repeatedly emphasized that ‘the specificity provisions of Rule 65(d) are no mere

   technical requirements.’” Scott v. Schedler, 826 F.3d 207, 212 (5th Cir. 2016) (quoting

   Schmidt v. Lessard, 414 U.S. 473, 476 (1974)). “The Rule was designed to prevent

   uncertainty and confusion on the part of those faced with injunctive orders, and to

   avoid the possible founding of a contempt citation on a decree too vague to be

   understood.” Id.

         Defendants intend to comply with this Court’s preliminary injunction, pending

   further action by this Court or the Fifth Circuit. But clarification is required for

   Defendants to ascertain exactly what actions are prohibited. Scott, 826 F.3d at 208

   (emphasizing need “to prevent uncertainty and confusion on the part of those faced

   with injunctive orders”). Based on the Court’s analysis in the Order granting the

   preliminary injunction, Defendants believe that the Court intended to enjoin

   terminating the Provider Plaintiffs’ agreements based on the reasons at issue in the

   case—i.e. the reasons stated in the Final Notice of Termination and in the course of




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   these proceedings. If that is true, the Court should amend its Orders to clarify its

   intent.

         Aside from Rule 65’s requirement of specificity, this clarification is needed for

   several reasons. First, Defendants are obligated by federal law to terminate the

   provider agreements of Medicaid providers who did not re-enroll in the Texas

   Medicaid program by February 1, 2017. See 42 C.F.R. § 455.414; Ex. A (Declaration

   of Katherine J. Scheib). The provider agreements are not between the State and the

   Provider Plaintiff entities; rather, many provider locations have their own TPI

   number and agreement. Id. at ¶ 6. Several of the TPI numbers listed in the Notice of

   Final Termination that are associated with the Plaintiffs have not complied with

   renewal requirements. Id. at ¶ 7. Defendants’ counsel conferred with Plaintiffs’

   counsel regarding this matter, and on March 7, 2017, Plaintiffs’ counsel stated that

   these provider agreements are associated with Provider Plaintiff affiliates which no

   longer exist and therefore do not intend to remain enrolled in the Texas Medicaid

   program. Because these affiliates did not re-enroll as required, Defendants are

   required by law to terminate their provider agreements. But due to the broad

   language of the injunction, Defendants are unsure whether they may terminate the

   provider agreements and request that the Court clarify the injunction to address this

   ambiguity.

         As participants in the federal Medicaid program, the State also has mandatory

   statutory obligations in the administration of the program which require the State to

   be permitted to terminate providers for reasons specified under federal law. Several

   grounds for termination listed in the federal Medicaid statutes and regulations

   require termination for certain reasons. See, e.g., 42 U.S.C. § 1396a(p)(2); 42 C.F.R.

   § 455.416. The State has no plans to terminate any of the Provider Plaintiffs’

   agreements at this time (other than as explained above for non-renewal), but its legal

   obligations require that it be able to do so when the law requires.
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         Furthermore, as this Court acknowledged in its Order granting the

   preliminary injunction, the State has the authority to terminate providers for reasons

   outlined in federal and state law. Dkt. 100 at 8-9. While the Court has determined

   for purposes of the preliminary injunction that Defendants may not terminate the

   Plaintiffs’ provider agreements for the reasons at issue in this case, the State must

   be permitted to terminate the agreements of the Plaintiffs, just like any other

   Medicaid provider, for other reasons. See, e.g., 42 U.S.C. § 1320a-7(b). Again, the

   State currently has no plans to terminate any of the Providers’ agreements, outside

   of what has been stated above, but the State’s authority to do so when appropriate

   under the law is unquestionable. The injunction should be clarified to respect this

   crucial role of the State in administering the Medicaid program in Texas and

   complying with the law regarding its obligations to ensure program integrity.

   II.   In the Alternative, if the Court Did Intend to Broadly Enjoin
         Defendants From Terminating Plaintiffs’ Provider Agreements for
         Any Reason Whatsoever, the Scope of the Injunction is Not Supported
         By the Law and Should Be Amended Pursuant to Fed. R. Civ. P. 52(b)
         or 59(e).
         If the Court did intend to enjoin Defendants from terminating Provider

   Plaintiffs’ Medicaid agreements for any reason, the injunction is overbroad as a

   matter of law and this Court should amend its judgment pursuant to either Rule 52(b)

   or Rule 59(e) to properly narrow the scope of the injunction. Rule 52(b) permits the

   Court to make additional findings of fact or law or to amend the original findings

   forming the basis of its judgment. Fed. R. Civ. P. 52(b). The main purpose of Rule 52

   is to provide the appellate court with a correct understanding of the findings of fact

   that served as the basis for the district court’s conclusions of law and its judgment.

   9C Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2582

   (3d ed. 2017). Rule 52 permits the Court “to correct manifest errors of law or fact or,

   in some limited situations, to present newly discovered evidence.” Fontenot v. Mesa

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   Petroleum Co., 791 F.2d 1207, 1219 (5th Cir. 1986). Rule 59(e) permits the Court to

   alter or amend its judgment when there is an intervening change in law, new

   evidence, or to correct a manifest error of law or fact. Demahy v. Schwarz Pharma,

   Inc., 702 F.3d 177 (5th Cir. 2012).

          Here, enjoining Defendants from terminating Provider Plaintiffs’ Medicaid

   provider agreements for any reason—in other words, engaging in conduct not at issue

   in the lawsuit—is plainly overbroad, especially in light of the additional evidence set

   forth above regarding some of the Provider Plaintiff affiliates who have chosen not to

   re-enroll and Defendants’ obligations under federal law to terminate non-compliant

   providers. Thus, amendment of the judgment is required.

      A. The Court should amend its Orders based on the evidence that
         immediate termination of some of the Provider Plaintiffs’ agreements
         is required by federal law.
          If the Court did intend to broadly enjoin the Defendants from terminating

   Provider Plaintiffs’ agreements for any reason, the Court should amend its Orders in

   light of the evidence regarding Defendants’ obligation to terminate some of the

   Provider Plaintiffs’ agreements to allow Defendants to comply with the law. As also

   explained above, as administrators of the Texas Medicaid program, Defendants must

   also be able to terminate provider agreements—including those associated with the

   Provider Plaintiffs—for reasons required by federal law in the future. The Court

   should amend its Orders to allow for HHSC to fulfill its obligations under federal law

   as the administrator of the Texas Medicaid program.

      B. The Court should amend its Orders because the injunction is
         overbroad as a matter of law, since Plaintiffs lack standing to receive
         relief beyond that which addresses their own claims of harm.
          In addition to the need to amend the Orders to allow Defendants to comply

   with the law, the Orders should also be amended because the injunction is overbroad.

   ‘“[T]he scope of injunctive relief is dictated by the extent of the violation established’”

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    by the Plaintiffs. John Doe #1 v. Veneman, 380 F.3d 807, 818 (5th Cir. 2004) (quoting

    Califano v. Yamasaki, 442 U.S. 682, 702 (1979)); see also Lewis v. Casey, 518 U.S.

    343, 357 (1996) (the scope of an injunction “must of course be limited to the

    inadequacy that produced the injury in fact that the plaintiff has established”). “The

    district court must narrowly tailor an injunction to remedy the specific action which

    gives rise to the order.” Veneman, 380 F.3d at 818; see also Fiber Sys. Int’l, Inc. v.

    Roehrs, 470 F.3d 1150, 1159 (5th Cir. 2006) (the ‘“scope of injunctive relief is dictated

    by the extent of the violation established,’ and an injunction must be narrowly

    tailored to remedy the specific action necessitating the injunction.”) “We … remind

    the district court that its injunction may not encompass more conduct than was

    requested or exceed the legal basis of the lawsuit.” Scott, 826 F.3d at 214.

          The basis of Plaintiffs’ claim is the Final Notice of Termination, which sets

    forth the bases for termination of the Provider Plaintiffs’ Medicaid agreement. As

    stated above, the Court did not question the State’s authority to terminate Medicaid

    provider agreements for reasons related to the provider’s qualifications, or for other

    reasons required by state or federal law. The Plaintiffs have no standing to challenge

    any reason for termination other than those at issue in this lawsuit, and preventing

    Defendants from complying with their statutory obligations does nothing to remedy

    the specific harm allegedly suffered by Plaintiffs. The Individual Plaintiffs’ right to

    the qualified provider of their choice cannot override federal requirements for

    enrollment, which themselves determine qualifications for providers. In other words,

    a provider is not “qualified” if it has not complied with the statutory requirements to

    maintain their enrollment as a Medicaid provider, and the Individual Plaintiffs

    accordingly have no right to use their Medicaid coverage at that provider.

          Limiting the injunction to its proper scope based on the Court’s ruling—

    enjoining Defendants from terminating the Provider Plaintiffs agreements on the

    basis of the grounds at issue in this lawsuit, as stated in the Notice of Final
                                                7




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    Termination—causes no harm to the Individual Plaintiffs. In contrast, it harms

    Defendants by placing them on the horns of a dilemma: either comply with this

    Court’s injunction, or forego compliance with federal statutes. Thus, in the event the

    Court did intend to broadly enjoin Defendants as stated, the injunction is erroneous

    as a matter of established law and should be amended.

                                      CONCLUSION
          Defendants respectfully request that the Court clarify that the Orders

    granting a Preliminary Injunction operate only to prohibit Defendants from

    terminating Plaintiffs’ Medicaid provider agreements based on the reasons in the

    Final Termination letter at issue in the case.


                                            Respectfully submitted.

                                            KEN PAXTON
                                            Attorney General of Texas

                                            JEFFREY C. MATEER
                                            First Assistant Attorney General

                                            BRANTLEY STARR
                                            Deputy First Assistant Attorney General

                                            JAMES E. DAVIS
                                            Deputy Attorney General for Civil
                                            Litigation

                                            ANGELA V. COLMENERO
                                            Chief, General Litigation Division

                                            /s/ Andrew B. Stephens
                                            ANDREW B. STEPHENS
                                            Texas Bar No. 24079396
                                            AMANDA J. COCHRAN-MCCALL
                                            Texas Bar No. 24069526
                                            ADAM A. BIGGS
                                            Texas Bar No. 24077727
                                            Assistant Attorneys General

                                              8




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                                   Office of the Attorney General
                                   300 West 15th Street
                                   P.O. Box 12548
                                   Austin, Texas 78711-2548
                                   (512) 463-2120 (phone)
                                   (512) 320-0667 (fax)

                                   Attorneys for Defendants




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                             CERTIFICATE OF SERVICE

          I certify that on March 13, 2017, this document was served through the Court’s

    CM/ECF Document Filing System or through e-mail, upon the following counsel of

    record:

          Thomas H. Watkins
          Husch Blackwell LLP
          111 Congress Ave., Suite 1400
          Austin, TX 78701
          (512) 472-5456
          (512) 479-1101 (fax)

          Jennifer Sandman
          Mai Ratakonda
          Planned Parenthood Federation of America
          434 W. 33rd Street
          New York, NY 10001
          212-261-4584
          212-247-6811 (fax)

          Richard Muniz
          Alice Clapman
          Planned Parenthood Federation of America
          1110 Vermont Ave., NW, Suite 300
          Washington, DC 20005
          202-973-4997
          202-296-3480 (fax)



                                          /s/ Andrew B. Stephens
                                          ANDREW B. STEPHENS
                                          Assistant Attorney General




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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

     PLANNED PARENTHOOD GULF
     COAST, INC.; JANE DOE #1; JANE
     DOE #2; AND JANE DOE #3,                                   NO. 3:15-cv-00565-JWD-RLB
                            Plaintiffs
     VERSUS

     REBEKAH GEE, SECRETARY,
     LOUISIANA DEPARTMENT OF HEALTH
     AND HOSPITALS,
                         Defendant

                                 MOTION TO STAY PROCEEDINGS

            NOW INTO COURT, through undersigned counsel, comes Defendant, Rebekah Gee, in

     her official capacity as Secretary of the Louisiana Department of Health and Hospitals, who

     respectfully moves for an Order granting a stay of proceedings pending en banc rehearing of

     Planned Parenthood of Greater Texas Family Planning & Preventative Health Servs., Inc. v.

     Smith, 914 F.3d 994 (5th Cir. 2019) (granting rehearing en banc) (“PPGT”) on the grounds that

     (1) rehearing in PPGT will determine the validity of the Fifth Circuit’s ruling on appeal of this

     Court’s Order denying Defendant’s Motion to Dismiss (Rec. Doc. 64) and granting Plaintiffs

     Motion for a Preliminary Injunction (Rec. Doc. 45) (“Ruling on Preliminary Injunction”); (2)

     given the interwoven claims, as alleged, it would be an inefficient use of judicial and litigant

     resources to proceed with motion practice and discovery on the constitutional claims not

     addressed in the Ruling on Preliminary Injunction prior to the Fifth Circuit’s decision in PPGT;

     and (3) a stay will cause no substantial hardship to the Plaintiffs as the preliminary injunction

     issued by the Court remains in place, all as is more fully set forth in the Memorandum in support

     of this motion.

            WHEREFORE Defendant, Rebekah Gee, in her official capacity as Secretary of the




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                                                                                                  App.608
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     Louisiana Department of Health and Hospitals, prays that this motion be granted. A proposed

     order is attached.

                                             Respectfully submitted,
                                             FAIRCLOTH MELTON SOBEL & BASH, LLC

                                             By: _____/s/ Jimmy R. Faircloth, Jr._________
                                                      Jimmy R. Faircloth, Jr. (La. #20645)
                                                      jfaircloth@fairclothlaw.com
                                                      Brook Landry Villa (La. #31988)
                                                      bvilla@fairclothlaw.com
                                                      9026 Jefferson Hwy., Suite 200
                                                      Baton Rouge, LA 70809
                                                      Phone: 225-343-9535
                                                      Fax: 225-343-9538

                                                                        And

                                                        JEFF LANDRY
                                                        ATTORNEY GENERAL
                                                        Elizabeth B. Murrill (La. #20685)
                                                        murrille@ag.louisiana.gov
                                                        Solicitor General
                                                        State of Louisiana
                                                        P.O. Box 94005
                                                        Baton Rouge, LA 70804-9005
                                                        Phone 225-326-6700
                                                        Fax: 225-326-6099

                                                    ATTORNEYS     FOR   DEFENDANT,
                                                    REBEKAH GEE, IN HER OFFICIAL
                                                    CAPACITY AS SECRETARY OF THE
                                                    LOUISIANA DEPARTMENT OF HEALTH
                                                    AND HOSPITALS


                                     CERTIFICATE OF SERVICE

            I hereby certify that on this 28th day of March, 2019, that above and foregoing

     Unopposed Motion to Stay Proceedings was electronically filed by using the CM/ECF System.


                             _____    /s/ Jimmy R. Faircloth, Jr.      _____
                                          Jimmy R. Faircloth, Jr.


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                                 UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF LOUISIANA

     PLANNED PARENTHOOD GULF
     COAST, INC.; JANE DOE #1; JANE
     DOE #2; AND JANE DOE #3,                                   NO. 3:15-cv-00565-JWD-RLB
                            Plaintiffs
     VERSUS

     KATHY KLIEBERT, SECRETARY,
     LOUISIANA DEPARTMENT OF HEALTH
     AND HOSPITALS,
                         Defendant

                                                ORDER

            Before the Court is Defendant’s Motion to Stay Proceedings.

            IT IS ORDERED that Defendant’s Motion is GRANTED and that all proceedings

     before this Court are stayed pending en banc rehearing of Planned Parenthood of Greater Texas

     Family Planning & Preventative Health Servs., Inc. v. Smith, 914 F.3d 994 (5th Cir. 2019).

            Signed in Baton Rouge, Louisiana, this ____ day of ________________ 2019.




                                                        JUDGE JOHN W. deGRAVELLES
                                                        UNITED STATES DISTRICT COURT
                                                        MIDDLE DISTRICT OF LOUISIANA




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                                           Motion to Stay Proceedings                   Motion




                                     Motion

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     Parenthood of Greater Texas Family Planning & Preventative Health Servs., Inc. v. Smith

                                              Planned Parenthood Gulf Coast, Inc. v. Gee

                      Gee II




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               IN THE UNITED STATES COURT OF APPEALS
                        FOR THE FIFTH CIRCUIT
                                                                       United States Court of Appeals
                                                                                Fifth Circuit

                                                                              FILED
                                      No. 17-50282                    November 23, 2020
                                                                          Lyle W. Cayce
                                                                               Clerk


     PLANNED PARENTHOOD OF GREATER TEXAS FAMILY PLANNING
     AND PREVENTATIVE HEALTH SERVICES, INCORPORATED; PLANNED
     PARENTHOOD SAN ANTONIO; PLANNED PARENTHOOD CAMERON
     COUNTY; PLANNED PARENTHOOD GULF COAST, INCORPORATED;
     PLANNED PARENTHOOD SOUTH TEXAS SURGICAL CENTER; JANE
     DOE, I; JANE DOE 2; JANE DOE 4; JANE DOE 7;
     JANE DOE 9; JANE DOE 10; JANE DOE 11,

                                               Plaintiffs    Appellees,

     v.

     SYLVIA HERNANDEZ KAUFFMAN, in her official capacity as Inspector
     General of HHSC; CECILE ERWIN YOUNG, in her official capacity as
     Executive Commissioner of HHSC,

                                               Defendants      Appellants.




                       Appeal from the United States District Court
                            for the Western District of Texas
                                 USDC No. 1:15-CV-1058




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                                               17-50282


     Before OWEN, Chief Judge, and JOLLY, JONES, SMITH, STEWART,
     DENNIS, ELROD, SOUTHWICK, HAYNES, GRAVES, HIGGINSON,
     COSTA, WILLETT, HO, DUNCAN, ENGELHARDT, Circuit Judges.


                                       JUDGMENT

          This cause was considered on the record on appeal and was argued by
     counsel.

          IT IS ORDERED and ADJUDGED that the judgment of the District
     Court is VACATED.

          IT IS FURTHER ORDERED that appellees pay to appellants the costs
     on appeal to be taxed by the Clerk of this Court.

          JENNIFER WALKER ELROD, Circuit Judge, joined by JONES,
     SMITH, WILLETT, HO, DUNCAN, and ENGELHARDT, Circuit Judges,
     concurring.

           JAMES C. HO, Circuit Judge, joined by STUART KYLE DUNCAN,
     Circuit Judge, concurring.

           STEPHEN A. HIGGINSON, Circuit Judge, joined by STEWART and
     COSTA, Circuit Judges, concurring in part and dissenting in part, partially
     joined by DENNIS and GRAVES, Circuit Judges.

           JAMES L. DENNIS, Circuit Judge, joined by JAMES E. GRAVES,
     Circuit Judge, dissenting.




              JUDGE OLDHAM is recused and did not participate in the decision. JUDGE WILSON
     joined the court after this case was submitted and did not participate in the decision.

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From:
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                     Watson, Beth </O=PPGT/OU=EXCHANGE ADMINISTRATIVE GROUP
                      (FYDIBOHF23SPDLT)/CN=RECIPIENTS/CN=WATSON, BETH>
To:                   PPGT_Health_Center_Staff
CC:                   PPGTREGIONALSandRQM
Sent:                 2/5/2021 2:31:44 PM
Subject:              Talking Points I More time for Medicaid care at Planned Parenthood.
Attachments:          TPs on Medicaid service deadlineFeb5.docx




Good afternoon,

Please see the attached talking points for the revised deadline for PPGT to provide services to
established patients with Medicaid. The most recent deadline of February 3 has been pushed to
Wednesday, February 17. That means patients enrolled in Medicaid can continue to make
appointments at PPGT through February 17. As we continue to fight this ban in court, it is possible
the deadline date will continue to change.

We are particularly concerned about time-sensitive birth control coverage for Medicaid patients who
have trouble locating a new provider. Please encourage eligible patients to set an appointment for
services including LARCs, before the February 17th deadline.

Below is the email sent to Medicaid patients this afternoon notifying them of the update.

Beth Watson (she/ her/hers)
Vice President of Health Services
Planned Parenthood of Greater Texas

From: Planned Parenthood Of Greater Texas [mailto:info@ppgt.org]
Sent: Friday, February 5, 2021 2:16 PM
To: Watson, Beth <Beth.Watson@ppgt.org>
Subject: More time for Medicaid care at Planned Parenthood.

EXTERNAL: This email originated outside of Planned Parenthood of Greater Texas. DO NOT CLICK links or
attachments unless you recognize the sender and know the content is safe.




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   Para leer este mensaje en espanol haga of


   Dear Friend,


   In January, you received an email from us about Texas Governor Greg Abbott
   blocking Texans enrolled in Medicaid from receiving care at Planned
   Parenthood. We continue to fight for your access to Medicaid covered
   healthcare at Planned Parenthood, and this week we received news that the
   most recent deadline of February 3 has been pushed back to Wednesday,
   February 17, 2021.


   As we continue to defend your access to healthcare at Planned Parenthood in
   the courts, this date may continue to change. We will update you by email, but
   we also encourage you to check                 j/IVI      for the latest


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   updates and information.


   Your birth control coverage is important and time-sensitive. You may
   want to take steps now to ensure you don't have a gap in birth control
   while seeking a new Medicaid provider.

   Call us at 1-800-230-PLAN today to schedule:

      • a Depo shot for three months of birth control coverage
      • an appointment for "whoops proof" long-acting reversible birth control
        method such as an IUD or implant
      • annual wellness exam, screening for sexually transmitted infections
        (STIs) and other healthcare services



        Call us at 1-800-230-PLAN to schedule your appointment today.




   While we cannot accept new Medicaid patients currently, if you are an
   established Planned Parenthood patient enrolled in Medicaid we welcome the
   opportunity to provide your healthcare before February 18.


   Starting February 18, you will need to seek healthcare at a different provider.
   To find a new Medicaid provider, you can:

      • Contact the customer service phone number on the back of your
        insurance card.
      • Call the Texas Medicaid Hotline at 1-800-252-8263.
      • Visit www.trnhp        to find other providers in your area.
      • Visit the 111)11ar     ?ntl          I ;ite to learn more about this
        important issue.
   Planned Parenthood stands with you. We will continue to advocate for
   Medicaid patients to access healthcare wherever they choose.


   In this together,
   G. Sealy Massingill, M.D.
   Chief Medical Officer
   Planned Parenthood of Greater Texas




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                                      How to Take Action


                                                        Share your story
                                                        Have you used Medicaid to pay for your
                                                        healthcare appointments at Planned
                                                        Parenthood? Please share if you count on
                                                        Planned Parenthood for your healthcare
                                                        appointments.




   Contact Governor Abbott
   Tell Texas Governor Greg Abbott not to
   block care for Medicaid patients at
   Planned Parenthood—people need more
   access to health care during a pandemic,
   not less.




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               Copyright © 2021 Planned Parenthood of Greater Texas, All rights reserved.
                           You are receiving this email because you opted in.


                                       Our mailing address is:
                                 Planned Parenthood of Greater Texas
                                     201 E Ben White Blvd Bldg B
                                        Austin, TX 78704-7301




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 Planned Parenthood
 Talking Points — Medicaid service deadline change
 February 2021

 As we continue working through the courts to protect healthcare access at Planned Parenthood
 for Medicaid patients, the deadline for when we can no longer serve patients through Medicaid
 has changed. We know this may cause additional confusion and distress for patients seeking
 care. Please refer to these talking points and resources when communicating with patients.

    •   The most recent deadline of February 3 has been pushed to Wednesday, February 17.
        That means patients enrolled in Medicaid can continue to make appointments at
        Planned Parenthood through February 17.

    •   Only current Planned Parenthood patients enrolled in Medicaid can make
        appointments. We are not allowed to accept new Medicaid patients at this time.

    •   Starting February 18, patients will need to seek care at another Medicaid provider. We
        encourage them to begin that process ASAP. To locate another Medicaid provider:
           o Contact the customer service phone number on the back of their insurance card.
           o   Call the Texas Medicaid Hotline at 1 .800-252-8263.
           o   Visit www tnnhi   .onn to find other providers in their area.
    •   We are particularly concerned about time-sensitive birth control coverage for Medicaid
        patients who have trouble locating a new provider. Please encourage eligible patients to
        set an appointment for Depo shots, "whoops-proof" long-acting, reversible
        contraception such as IUDs and implants, along with other important reproductive
        healthcare, before the deadline.

    •   As we continue to fight this ban in court, it is possible the deadline date will continue to
        change. Please encourage patients to check their email and visit
        ppgreatertx.org/Medicaid for the latest information and guidance.

    •   IF PATIENTS ARE ESPECIALLY ANGRY OR MOTIVATED ABOUT THIS SITUATION, please
        encourage them to visit ppgreatertx.org/Medicaid. At the bottom of that page patients
        have the option to:
            o Contact Governor Abbott to ask him to not block Medicaid patients from seeking
                healthcare at Planned Parenthood
            o Share their Medicaid patient story at Planned Parenthood — why it is important
                to them; why they are worried about losing that access.




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                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

      PLANNED PARENTHOOD GULF
      COAST, INC.
                                                         CIVIL ACTION
      VERSUS
                                                         NO. 15-565-JWD-RLB
      COURTNEY PHILLIPS, in her official
      capacity as Secretary of the Louisiana
      Department of Health

                                                   ORDER

            This matter comes before the Court on the Motion to Vacate the Preliminary Injunction

     (Doc. 115) (the “Motion”) filed by Defendant Dr. Courtney Phillips, in her official capacity as

     Secretary of the Louisiana Department of Health. Plaintiff Planned Parenthood Gulf Coast, Inc.

     opposes the motion, (Doc. 116), and Defendant has filed a reply, (Doc. 119). Oral argument is not

     necessary. The Court has carefully considered the law, the facts in the record, and the arguments

     and submissions of the parties and is prepared to rule.

            For the following reasons, Defendant’s motion is denied. This Court granted Defendant’s

     earlier Motion to Stay Proceedings (Doc. 109) and ordered that:

                    [A]ll proceedings are stayed and administratively closed pending
                    decisions in the en banc rehearing of Planned Parenthood of
                    Greater Texas Family Planning & Preventative Health Servs., Inc.
                    v. Smith, 914 F.3d 994 (5th Cir. 2019), and the appeal in Planned
                    Parenthood Gulf Coast, Inc. v. Gee, No. 18- 30699 (5th Cir.) (“Gee
                    II”), after which time the parties shall file a motion to lift the stay.

     (Doc. 114 at 1 (emphasis in original).) As Defendant concedes, no ruling has been issued in Gee

     II. (See Doc. 115-1 at 1.) Thus, the requirements to lift the stay have not been satisfied.

            Further, regardless of the ruling in Planned Parenthood of Greater Texas Family Planning

     & Preventative Health Services, Inc. v. Kauffman, 981 F.3d 347 (5th Cir. 2020) (en banc), the




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     Court sees little reason to vacate the injunction (which necessarily requires a limited lifting of the

     stay) until the legal landscape of this case is fully clarified by a decision in Gee II. This is

     particularly true given the facts that (1) vacating the injunction could cause the Court (and the

     parties) to expend considerable time and resources to try and decide the constitutional issues before

     a decision in Gee II, despite the fact that a ruling in Gee II could render such time and expense

     unnecessary, and (2) oral argument was heard in Gee II on January 9, 2019, so a ruling will

     presumably be issued soon. (Gee II, Doc. 69.)

            Accordingly,

            IT IS ORDERED that the Motion to Vacate the Preliminary Injunction (Doc. 115) filed

     by Defendant Dr. Courtney Phillips, in her official capacity as Secretary of the Louisiana

     Department of Health, is DENIED.

            Signed in Baton Rouge, Louisiana, on April 7, 2021.




                                               JUDGE JOHN W. deGRAVELLES
                                               UNITED STATES DISTRICT COURT
                                               MIDDLE DISTRICT OF LOUISIANA




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